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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                             Case No. 23-90147 (DRJ)

                                      Debtors. 1                      (Jointly Administered)


                       DECLARATION OF MICHAEL HEALY IN SUPPORT
                  OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY RELIEF

             I, Michael Healy, pursuant to section 1726 of Title 28 of the United States Code, hereby

declare that the following is true to the best of my knowledge, information, and belief:

             1.      I am the Chief Restructuring Officer (the “CRO”) of Mountain Express Oil

Company (“MEX”) and its affiliates (collectively, the “Company”). In addition to serving as

MEX’s CRO, I am a Senior Managing Director at FTI Consulting, Inc. (“FTI”), a leading global

business advisory firm with 121 offices worldwide and over 7,600 professionals. I have more than

20 years of restructuring experience and have advised companies, lenders, creditors, corporate

boards, and equity sponsors across a diverse range of industries both domestically and

internationally.       My experience includes advising on complex restructuring and turnaround

situations in out-of-court restructurings and formal bankruptcy proceedings. Specific areas of my

expertise include business plan development, cash flow forecasting, cash management,

development and implementation of cost reduction plans, negotiating restructuring plans,

bankruptcy planning, and negotiating business and asset sales. I have advised companies, lenders,


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
      3650 Mansell Road, Suite 250, Alpharetta, Georgia 30022.



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and investors in a variety of industries and in select instances served as Chief Restructuring Officer,

including Speedcast International Limited, F+W Media, Inc., All American Group, Inc., and

TransCentra, Inc.

        2.       On March 18, 2023 (the “Petition Date”), the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) each commenced a voluntary case (collectively, the

“Chapter 11 Cases”) under chapter 11 of Title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Southern District of Texas (the “Court”),

and they will continue to operate their business and manage their properties as debtors in

possession.

        3.       I am generally familiar with the Debtors’ day-to-day operations, business affairs,

books and records, and the Company’s restructuring efforts. Except as otherwise indicated herein,

the facts set forth in this declaration (this “Declaration”) are based upon my personal knowledge,

my review of relevant documents, information provided to me by employees of the Debtors, my

opinion based upon my experience, knowledge, and information concerning the Debtors’

operations, and my discussions with other employees of FTI and with the Company’s restructuring

advisors. If called upon to testify, I would testify competently to the facts set forth in this

Declaration.

        4.       To minimize any adverse effects of filing the bankruptcy petitions (the “Petitions”)

and to preserve value for the benefit of all stakeholders, the Debtors have filed a number of motions

requesting various forms of “first day” relief (collectively, the “First Day Pleadings”). I submit,

and am authorized by the Debtors to submit, this Declaration in support of the Petitions and the

First Day Pleadings. The relief requested in the First Day Pleadings is necessary to preserve and




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maximize the value of the Debtors’ estates and allow them to sustain their current operations in

chapter 11.

        5.       This Declaration is intended to provide a summary overview of the Debtors’

businesses, the circumstances leading to the commencement of these Chapter 11 Cases, and in

support of the relief the Debtors seek in the First Day Pleadings. I have organized this Declaration

as follows:

       Part I provides an introduction to the commencement of the Chapter 11 Cases.

       Part II provides a general overview of the Company’s corporate history and business
        operations.

       Part III describes the Company’s prepetition corporate and capital structure.

       Part IV describes the circumstances leading to the commencement of these Chapter 11
        Cases.

       Part V sets forth the evidentiary basis for the relief requested in the First Day Pleadings.

                                             I. INTRODUCTION2

        6.       Based in Alpharetta, Georgia, the Debtors are a vertically-integrated market leader

in the fuel supply business. The Debtors’ history with Oak Street Real Estate Capital, LLC

(together with its affiliates “Oak Street”), was, until recently, one of collaboration. For the past

several years, the Debtors would acquire Fueling Centers and Travel Centers and sell the properties

to Oak Street, who in turn leased the properties back to the Debtors. This relationship between the

Debtors and Oak Street, which began in 2021, resulted in the Debtors’ acquisition and sale-

leaseback of 286 locations (the “Oak Street Leased Properties”), making Oak Street the Debtors’

largest single Landlord among the Debtors’ 550 locations. Integral to the Debtors’ business

operations is both the Debtors’ entry into fuel purchase contracts with stringent minimum


2
    Capitalized terms used but not defined in this section shall have the meanings ascribed to them infra.



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purchasing requirements (the “Oil Company Agreements”) with the major fuel suppliers (the “Fuel

Suppliers”) and the Debtors’ entry into long-term agreements with Dealers (collectively, the “Fuel

Supply Agreements”) to supply the Dealers with fuel.

        7.       Something changed in recent months—rather than continue to partner with the

Debtors, Oak Street instead decided it wanted to transfer more than 150 of the Debtors’ properties

to operators of its choice (who would not be parties to the Fuel Supply Agreements with the

Debtors, thereby severely devaluing the Debtors’ operations). The pretext for this change was Oak

Street’s decision to assert notices of default (the “Oak Street Default Notices”) on February 17,

2023 with respect to non-monetary, ordinary course property remediation issues the Debtors were

undertaking at certain locations. Oak Street was fully aware of these non-monetary defaults, most

of which existed at the time the properties became part of the Oak Street portfolio and which were

not asserted to be events of default at the time of the most recent amendments to the Oak Street

MLAs—which occurred just a month prior to the transmission of the Oak Street Default Notices.

Indeed, until January 2023, a representative of Oak Street was on the Debtors’ Board of Directors3

and was fully aware of the Debtors’ ongoing efforts to complete such work.4

        8.       After receiving the notices of default, the Debtors attempted to engage with Oak

Street to discuss the Debtors’ current business plan and address any concerns Oak Street had with

the Debtors’ operations. The Debtors requested a thirty-day extension of the time to cure the



3
    Whether and to what extent Oak Street used information obtained from Jared Sheiker – the Oak Street
    representative formerly on the Debtors’ Board – in connection with such efforts may be the subject of discovery
    in these Chapter 11 Cases. In fact, I am informed that in the days leading up to the filing of these cases, the
    Debtors were contacted by Pilot, one of their significant trading partners and fuel suppliers to the Travel Centers,
    who informed them that a dealer not associated with the Debtors had approached them to potentially operate three
    of the Travel Centers for Oak Street.
4
    In connection with the assumption and/or assignment of the Oak Street MLAs, the Debtors will demonstrate that
    the alleged defaults have been substantially cured, to the extent the Debtors (as opposed to a third party, such as
    a governmental unit) are in control of such cure.



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alleged defaults in order to facilitate these discussions and avoid the need to prepare for a

bankruptcy filing. Oak Street’s willingness to have these discussions was conditioned upon

numerous demands, including that the Debtors release more than 150 properties from the Oak

Street MLAs, presumably because they had lined up new tenants for those locations. Under the

terms of the Debtors’ Oil Company Agreements, the Debtors must meet certain minimum fuel

purchase requirements and under the Fuel Supply Agreements, the Debtors must supply the

Dealers with whom they contract. Were the Debtors to ignore their fiduciary duties and accede to

Oaks Street’s demands to dispossess a significant portion of the Debtors’ properties, it would

decimate the Debtors’ business, and would likely cause the breach of the Oil Company Agreements

and certain Fuel Supply Agreements. Oak Street’s demands neither provided any relief to the

Debtors nor the ability for the Debtors to continue to address their go-forward business in a manner

that would benefit all stakeholders—as opposed to Oak Street alone. Oak Street’s efforts had to

be halted for the benefit of all of the Debtors’ stakeholders – thus these Chapter 11 Cases were

filed.

                II. THE COMPANY’S HISTORY AND BUSINESS OPERATIONS

         9.      Mountain Express was originally founded in 2000 by Barry and Gail Bierenbaum

as a distributor of fuel and lubricants. In 2003, Turjo Wadud and Lamar Frady joined the Company

and, over the course of the decade, Mountain Express grew to supply approximately 180 fuel

stations, including approximately 50 owned fuel stations. After selling its business to Empire

Petroleum in 2010, Mountain Express re-entered the market in 2013 through a re-acquisition of 33

locations from Empire Petroleum. Two years later, Mr. Wadud and Mr. Frady—having served the

Company in senior management positions for over a decade— became equity partners in Mountain




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Express and, in March 2020, became co-owners of the company they helped to grow into a

multimillion dollar business.

        10.      As of the Petition Date, the Debtors have three business segments: (a) the “C-Store

Operation Business” which consists of the operation of fueling centers and associated convenience

stores (“Fueling Centers”); (b) the “Travel Center Operation Business” which consists of the

operation of travel centers (“Travel Centers”); and (c) the “Fuel Distribution Business” which

consists of the distribution of fuel procured from the Fuel Suppliers.

        11.      In structuring their operations, the Debtors acquire Fueling Centers and Travel

Centers and simultaneously re-sell them to third-party investment vehicles (the “Landlords”) who

then lease the Fueling Centers and Travel Centers back to the Debtors pursuant to long-term

agreements (collectively, the “Prime Leases”). Certain of the Fueling Centers (the “Operated

Fueling Centers”) and Travel Centers (the “Operated Travel Centers” and, together with the

Operated Fueling Centers, the “Operated Sites”) are operated by the Debtors (“Operated Dealers”),

while certain sites are “dealered out” and subleased to third-parties (the “Network Dealers” and,

together with the Operated Dealers, the “Dealers”) to operate a Fueling Center on the site (the

“Network Dealer Sites” and, together with the Operated Sites, the “Controlled Sites”). The

Debtors’ Fuel Distribution Business provides fuel to both Controlled Sites and sites in which the

Debtors hold no real property interests (the “Non-Controlled Sites”). A diagram that describes the

Debtors’ business segments follows:




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        12.      As of the Petition Date, the Debtors serve 828 Fueling Centers and 27 Travel

Centers across 27 states. Of the 855 locations, 550 are Controlled Sites and 305 are Non-

Controlled Sites. The Debtors are ExxonMobil’s second largest customer nationwide and its

largest customer in the Southeast. The Debtors are also a significant customer of several other

national Fuel Suppliers, including Shell, Sunoco, and Valero. In addition, the Debtors are one of

the largest dealers to Pilot Travel Centers; at the same time, Pilot is a Fuel Supplier to the Travel

Centers.


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A.       Mountain Express’ Growth Strategy

         13.      Beginning in June 2021, Mountain Express embarked on a rapid growth strategy to

pursue value-accretive acquisitions of multi-unit fuel retailers targeted at obtaining geographic

diversification, economies of scale, and operational efficiencies. The Debtors do not own the real

estate underlying any of the Controlled Sites; rather, certain Debtors (in general, the MEX RE

Entities, as defined below) lease the Controlled Sites from a third-party Landlord5 and then

sublease the Controlled Sites to either a third-party Network Dealer or a Debtor entity (in general,

a Retail Entity, as defined below) in the case of Operated Sites. By having long-term property

interests in the Controlled Sites through their tenancy under the Prime Leases, the Debtors can

guarantee an equally long-term, steady revenue stream as the sole fuel distributor to the Controlled

Dealers.

         14.      As noted above, the Debtors have generally expanded their network of Controlled

Dealers through the acquisition of Fueling Centers and Travel Centers from third parties and the

simultaneous sale-leaseback of those locations to a Landlord, realizing value in the process through

cap rate arbitrage. Thereafter, the Debtors enter into sublease agreements (the “Subleases”) and

Fuel Supply Agreements (as defined below) with either a Network Dealer or Operated Dealer.




5
     I understand that certain Landlords are entities directly or indirectly owned or controlled by Mr. Frady and/or Mr.
     Wadud (the “Related Parties”), including 4Court Holdings, LLC; 4Court Leasing LLC; LTE Capital, LLC; and
     and Time and Water LLC.



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As of the Petition Date, approximately 64% of the Controlled Dealers are Network Dealers and

36% are Operated Dealers.6

B.       The Fuel Distribution Business

         15.       As noted above, the core of the Debtors’ operations is the Fuel Distribution

Business, through which revenue is realized under the Debtors’ Fuel Supply Agreements. The

Debtors purchase fuel and lubricants from the Fuel Suppliers, with whom the Debtors enjoy long-

tenured business relationships pursuant to the Oil Company Agreements,7 at spot rates (the “Spot

Price”). The Debtors then sell the fuel and lubricants to Dealers pursuant to the Fuel Supply

Agreements, which incorporate one of two pricing models—(a) a commission model, wherein the

Debtors consign fuel to a Dealer, controlling the price of the fuel at the pump and sharing in the



6
     As discussed in further detail herein, the Debtors are in the process of strategically refocusing their operations on
     the Fuel Distribution Business and have therefore been converting Operated Fuel Centers to Network Dealers.
7
     The Debtors purchase less than 5% of their annual fuel needs on a spot basis (i.e. not pursuant to an Oil Company
     Agreement).



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retail profit upon its sale at agreed-to rates (the “Commission Model”); and (b) a cost plus model,

wherein the Debtors sell the fuel to a Dealer at the Spot Price plus freight, fees, and an agreed-to

cents-per-gallon markup (the “Wholesale Model”).

         16.      Essential to the Fuel Distribution Business is the Debtors’ ability to reliably and

regularly supply each of the Dealers with sufficient fuel under the Fuel Supply Agreements. To

do so, the Debtors use the services of approximately 82% outside fuel trucking companies (the

“Trucking Companies”). One such company is Adelphi Transport, LLC (“Adelphi Transport”), a

non-Debtor Related Party that, as of the Petition Date, transports approximately 18% of the

Debtors’ fuel supply from terminals to the dealers. I understand that Adelphi Transport was

founded in January 2022 by Mr. Wadud and Mr. Frady in response to major disruptions to the

Debtors’ business during 2020 and 2021, including as a result of the national shortage of drivers,8

infrastructure outages concerning the Colonial9 and Plantation10 pipelines, and widespread service

cancellations by Trucking Companies.11 The rates charged to the Debtors by Adelphi Transport

are at market for the services provided and, upon information and belief, are the same as or better

than those that Adelphi Transport charges to its other customers.




8
     See Madeline Ngo and Ana Swanson, “The Biggest Kink in America’s Supply Chain: Not Enough Truckers,”
     New York Times (November 9, 2021) (available at https://www.nytimes.com/2021/11/09/us/politics/trucker-
     shortage-supply-chain.html).
9
     See Martha C. White, “Pipeline shutdown could lead to price spikes, shortages – and problems for East Coast
     airports,” NBC News (May 10, 2021) (available at https://www.nbcnews.com/business/energy/pipeline-
     shutdown-could-lead-price-spikes-shortages-problems-east-coast-n1266881).
10
     See Laura Sanicola, “Kinder Morgan delays restart of southeast fuels pipeline due to flooding,” Reuters (Oct. 7,
     2021) (available at https://www.reuters.com/business/energy/kinder-morgan-delays-restart-southeast-fuels-
     pipeline-due-flooding-2021-10-07/).
11
     For example, I understand that one of the Debtors’ Trucking Companies ceased providing services to North
     Georgia in December 2022 and Alabama in January 2023.



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         17.      The Debtors’ operations require testing, phase I environmental site assessments,

and monthly visual inspections to meet various state and regulatory and environmental

requirements (collectively, “Environmental Services”). Each state in which the Debtors operate

maintains its own regulatory requirements, including the need for annual inspections to review

compliance. Upon information and belief, prior to January 2023, all Environmental Services were

performed by a Debtor entity, Spartan Tank Management LLC (“Spartan”).12 However, I am

advised that, because Spartan was unable to achieve profitability, the Debtors began exploring

alternative sources for the provision of Environmental Services in 2022. By the end of the year,

the Debtors entered into bifurcated arrangements for the provision of Environmental Services;

commencing in January 2023, monthly visual inspections are handled by MVI Field Services, a

nationwide, third-party tank inspection service company, while compliance work and phase I

assessments are performed by Adelphi Environmental Services LLC (“Adelphi Environmental”),

a newly-formed Related Party, pursuant to a January 6, 2023, Services Agreement with MEX. The

rates charged to the Debtors by Adelphi Environmental are at market for the services provided.

                 III. THE DEBTORS’ CORPORATE AND CAPITAL STRUCTURE

A.       Corporate Structure

         18.      MEX, a Georgia corporation, is the ultimate parent of the other 143 Debtor entities

and is privately held. As of the Petition Date, MEX’s equity interests are held as follows: (a)

48.5% by Turjo Wadud, the Debtors’ Co-CEO; (b) 48.5% by Lamar Frady, the Debtors’ Co-CEO;

and (c) 3% by West Hill Ranch Investors, LLC (“WHRI”).13




12
     As of the Petition Date, Spartan has no further business activities.
13
     WHRI acquired 3% of MEX’s equity interests in connection with the Debtors’ acquisition of West Hill Ranch
     Group LLC (“West Hill Ranch”).



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         19.      As shown in detail on the organizational chart attached hereto as Exhibit A, MEX

is the parent of various subsidiaries, including West Hill Ranch, MEX RE Holdings LLC (“MEX

RE” and, together with its direct and indirect Debtor subsidiaries, the “MEX RE Entities”), MEX

Fuels LLC (“MEX Fuels” and, together with its direct and indirect Debtor subsidiaries, the “MEX

Fuels Entities”), and WHRG-LA2, LLC (together with its direct and indirect Debtor subsidiaries,

the “Brothers Entities”). West Hill Ranch is the direct parent of two Debtors, WHRG Retail Ops

LLC (“WHRG Retail” and, together with its direct and indirect Debtor subsidiaries, the “Retail

Entities”) and WHRG TC LLC (“WHRG TC” and, together with its direct and indirect Debtor

subsidiaries, the “Travel Center Entities”).

         20.      As noted above, the MEX RE Entities are largely the tenants under the Debtors’

Prime Leases and sub-landlords under the Subleases.14 The Retail Entities are the tenants under

Subleases with the MEX RE Entities with respect to the Operated Fueling Centers and the Travel

Center Entities are the tenants under the Subleases with the MEX RE Entities with respect to the

Operated Travel Centers.

B.       Prepetition Capital Structure

            i.    Prepetition Secured Parties

         21.      MEX is the Borrower under that certain First Amended and Restated Credit

Agreement dated as of March 12, 2020 (the “Prepetition Credit Agreement”),15 among MEX (the

“Prepetition Borrower”), the Prepetition Guarantors (defined below), certain Lenders (as defined


14
     Certain of the Prime Leases are held by other Debtor entities, including MEX, West Hill Ranch, and certain
     Brothers Entities.
15
     References to documents herein shall include such documents as each of them may have been amended, modified,
     supplemented, and restated from time to time unless provided otherwise. The Prepetition Credit Agreement
     amends and restates an original credit agreement dated October 25, 2018. The Prepetition Credit Agreement was
     most recently amended pursuant to that certain Fourth Amendment to First Amended and Restated Credit
     Agreement and Limited Waiver dated as of December 1, 2022.



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in, and designated from time to time pursuant to, the Prepetition Credit Agreement) (the

“Prepetition Lenders”), and First Horizon Bank16 (in its capacity as administrative agent, the

“Prepetition Agent” and, together with the Prepetition Lenders, the “Prepetition Secured Parties”)

with respect to a secured term loan and revolving credit facility (the “Prepetition Loan Facility”).17

The Prepetition Loan Agreement, collectively with the Loan Documents (as defined in the

Prepetition Loan Agreement) and any other agreements and documents executed or delivered in

connection therewith, each as amended, restated, supplemented, waived, or otherwise modified

from time to time, the “Prepetition Loan Documents”) provided for loans to the Prepetition

Borrower of up to $205 million in aggregate principal amount. As of the Petition Date, the

aggregate amount outstanding under the Loan Facility is approximately $176.5 million, consisting

of approximately $148.3 million in outstanding principal due under the Prepetition Term Loan

Facility, approximately $28.2 million in outstanding principal due under the Prepetition Revolving

A Facility, and no outstanding principal due under the Prepetition Revolving B Facility. Each of

the foregoing amounts is exclusive of accrued interest, fees, costs and charges.

         22.      As more fully set forth in the Prepetition Loan Documents, prior to the Petition

Date the Prepetition Borrower and the Prepetition Guarantors (as defined below) granted to the


16
     Formerly known as IberiaBank, a division of First Horizon Bank. The Prepetition Agent is also a Prepetition
     Lender.
17
     The Prepetition Loan Agreement provided for the funding of three separate types of loans with different terms
     and applicable interest rates. Specifically, the Prepetition Loan Agreement permits borrowing under a term loan
     facility in the amount of $155 million (inclusive of a $5 million swing line loan) (the “Prepetition Term Loan
     Facility”), a revolving A credit facility with an aggregate commitment amount of $30 million (the “Prepetition
     Revolving A Facility”), and a revolving B facility with an aggregate commitment amount of $20 million (the
     “Prepetition Revolving B Facility”). In addition, the Borrower and certain of the Prepetition Secured Parties were
     parties to a hedge agreement (the “Prepetition Hedge Agreement”) to hedge interest rate exposure applicable to a
     portion of the principal amount borrowed under the Prepetition Term Loan Facility. The Prepetition Hedge
     Agreement was terminated as of March 8, 2023, yielding a termination payment to the Prepetition Borrower in
     the approximate amount of $6.648 million (the “Hedge Termination Payment”). I was informed on the evening
     of March 19, 2023 that, prior to the Petition Date, the Prepetition Agent applied the Hedge Termination Payment
     against amounts owed pursuant to the Prepetition Loan Documents.



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Prepetition Agent, for the benefit of itself and the Prepetition Lenders, a security interest in and

continuing lien (the “Prepetition Liens”) on substantially all of their assets and property, including

inventory and equipment (with certain exceptions set forth in the Prepetition Loan Documents)

and all proceeds, products, accessions, rents, and profits thereof (collectively, the “Prepetition

Collateral”). The obligations of the Prepetition Borrower under the Prepetition Credit Agreement

are guaranteed by Mountain Express Baking and Coffee Co.; Mountain Express Ethanol Company;

Alabama Terminal Property, LLC; Spartan;18 Mountain Express Oil Company Southeast, LLC;

MEX North Alabama, LLC; Mississippi MEX Company, LLC; B&T Petroleum LLC; Texas MEX

Limited Company, LLC; Star Mountain Express, LLC; and West Hill Ranch Group LLC

(collectively, the “Prepetition Guarantors”).19 Each of the Prepetition Guarantors is a wholly-

owned subsidiary of MEX20 and is a Debtor in these Chapter 11 Cases. Pursuant to the Prepetition

Loan Documents, the obligations of the Prepetition Guarantors to guarantee the full payment and

performance of the Prepetition Borrower are secured by substantially all of the personal property

assets of each of the Prepetition Guarantors.

         23.     On December 21, 2022, the Prepetition Agent notified the Prepetition Borrower

and the Prepetition Guarantors that certain defaults had occurred under the Prepetition Credit

Agreement. Specifically, the Prepetition Agent alleged defaults arising from the Debtors’ alleged

failure to timely deliver financial statements to the Prepetition Agent and the Debtors’ alleged




18
     Formerly known as MEX Advance Fleet Services, LLC.
19
     Second Financial Management Services, LLC, which was dissolved prior to the Petition Date, was previously a
     Prepetition Guarantor.
20
     Alabama Terminal Property, LLC, is a wholly-owned subsidiary of Mountain Express Oil Company Southeast,
     LLC, which, in turn, is wholly-owned by MEX.



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failure to satisfy certain conditions of the Prepetition Credit Agreement at the time borrowing

requests were made thereunder.

           ii.    Landlords

         24.      Each of the Debtors’ 550 Controlled Sites are leased from Landlords, certain of

which (including Oak Street and AR Global Investments, LLC) are Landlords at multiple

locations.21 As of the Petition Date, the Debtors believe they owe approximately $1.1 million to

their Landlords.

          iii.    General Unsecured Claims

         25.      As of the Petition Date, the Debtors estimate that they owe approximately $26.2

million in the aggregate to their trade creditors. Of this amount, the Debtors estimate that the

aggregate unpaid prepetition balance owing to the Fuel Relationship Parties could total up to $25

million, all of which will be coming due during the first 21 days of these Cases (the “Fuel

Relationship Claims”). As discussed in further detail in the Debtors’ Emergency Motion for Entry

of Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims of Fuel Suppliers and

Transporters and (II) Granting Related Relief, filed concurrently herewith, the Debtors are seeking

authority to pay an amount which shall not exceed $25 million on account of Fuel Relationship

Claims. Accordingly, the Debtors believe that all or substantially all of the Fuel Supplier Claims

have arisen in—and but for the filing of these Chapter 11 Cases would have been paid in the

ordinary course of the Debtors’ business.




21
     Related Parties are Landlords at approximately nine of the Debtors’ locations.



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                           IV. EVENTS LEADING TO THE PETITION DATE

A.       The Oak Street Program Agreement

         26.      On June 30, 2021, the Debtors and Oak Street entered into an agreement (the “Oak

Street Program Agreement”) pursuant to which Oak Street agreed to finance up to $1 billion (or

more) of the Debtors’ acquisition of Fueling Centers and Travel Centers through sale-leaseback

transactions, each through a separate Oak Street MLA. After executing certain Oak Street MLAs,

the Debtors and Oak Street entered into the Oak Street Side Letters with respect to environmental

assessment and remediation, code compliance, and related matters to be completed at some of the

Oak Street Leased Properties after closing of the applicable Oak Street Transaction. On December

31, 2021, as contemplated by the Oak Street Program Agreement, Jared Sheiker, a Principal of

Oak Street, was appointed to the Debtors’ Board of Directors.

         27.      For more than a year, Oak Street funded the Debtors’ acquisition of 286 Oak Street

Leased Properties for an aggregate purchase price of over $825 million through over 60 separate

sale-leaseback transactions (each, an “Oak Street Transaction”). Each Oak Street Transaction was

documented through a separate master lease agreement (each, an “Oak Street MLA”), and, in some

instances where a subject parcel was undergoing environmental assessment or remediation, code

compliance, or similar work (“Post-Closing Work”), Oak Street would close that particular Oak

Street Transaction and enter into letter agreements (the “Oak Street Side Letters”) for the eventual

completion of the Post-Closing Work.22 In all, the Debtors entered into 44 Oak Street Side Letters

that addressed Post-Closing Work at 72 Oak Street Leased Properties between July 2021 and

October 2022.


22
     Due to the nature of the convenience store business, stores are often subject to minor, but recurring, local code
     violations and correction notices. The Debtors consistently monitor and address these matters but the timing of
     their resolution varies widely by jurisdiction and may be outside the Debtors’ control.



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        28.      For over a year, the Debtors and Oak Street worked collaboratively under the Oak

Street Program Agreement without incident. The Debtors worked diligently to address the Post-

Closing Work contemplated by the Oak Street Side Letters and Oak Street never raised any

concerns with the speed at which such matters were being completed—rather, Oak Street

continued to make hundreds of millions of dollars available to the Debtors under the Oak Street

Program Agreement.

B.      The Debtors’ Transition from the Unprofitable C-Store Operation Business

        29.      In October 2022, based on changes in the marketplace, the Debtors determined to

strategically reposition the business and re-focus on the core Fuel Distribution Business and the

profitable Travel Center Operation Business. The Debtors believed these measures would enable

them to reduce fixed cost working capital requirements and increase operating leverage. With Oak

Street’s support, the Debtors began to exit the C-Store Operation Business; between October 2022

and the Petition Date, the Debtors converted 104 Operated Fueling Centers to Network Dealers

and is presently under contract to convert 55 additional Operated Fueling Centers. The Debtors

are actively marketing the remaining 45 Operated Fueling Centers and anticipate that the

conversion will be complete by June 2023, allowing the Debtors to significantly strengthen their

operations and focus their efforts on the profitable Fuel Supply Business and Travel Center

Operation Business.

C.      The A&R Oak Street MLAs

        30.      On January 1, 2023, the Debtors and Oak Street entered into three amended and

restated master lease agreements (the “A&R Oak Street MLAs”) to combine, amend, and restate

the earlier Oak Street MLAs. Due to the continued drain of the C-Store Operations Business, in

early January 2023, the Debtors faced a liquidity shortfall that would have affected payment of




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January rent to Oak Street under the Oak Street MLAs. Accordingly, the Debtors approached Oak

Street to request a deferral of January and February rent, but rather than defer the Debtors’ rent,

Oak Street funded a total of $10 million with a third-party escrow agent on January 16, 2023, to

be released to Oak Street in installments for payment of the January, February, and March rent due

under the A&R Oak Street MLAs.23

D.       The First Amendments to MLAs

         31.      On January 16, 2023, the Debtors and Oak Street entered into amendments to the

A&R Oak Street MLAs (the “First Amendments to MLAs”) which, among other things, (a) added

the $10 million to the future rent due under the A&R Oak Street MLAs; (b) increased the rent

under the A&R Oak Street MLAs by 10% per year; and (c) required an equity or subordinated debt

infusion of $10 million into the Debtors. Still, even at that time and with month after month

passing, Oak Street did not provide the Debtors with notice of any alleged default with respect to

the Post-Closing Work (or any other matter).

E.       The Oak Street Default Notices

         32.      Soon after the Debtors and Oak Street entered into the First Amendments to MLAs,

Oak Street demanded that the Debtors agree to release Oak Street Leased Properties from the

A&R Oak Street MLAs for sale to third parties. When the Debtors refused to agree, Oak Street

transmitted three Oak Street Default Notices to the Debtors, one under each A&R Oak Street MLA,

relating to approximately 74 of their leased locations. The Oak Street Default Notices alleged

solely non-monetary defaults relating to Post-Closing Work, non-operational convenience stores

(on which the Debtors were, in any event, paying rent), or alleged lack of financial reporting


23
     The escrowed amounts were insufficient to pay March 2023 rent. On March 1, 2023, the. Debtors paid March
     rent to Oak Street in full and intend to pay all rent to Oak Street under the MLAs during the pendency of these
     Chapter 11 Cases.



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(collectively, the “Alleged Non-Monetary Defaults”). Unless the Debtors remedied the Alleged

Non-Monetary Defaults within 30 days, Oak Street would reclaim any or all of the Oak Street

Leased Properties by terminating the A&R Oak Street MLAs and force the Debtors to transfer

operations to a replacement operator of Oak Street’s choosing—permanently kneecapping the

Debtors’ business.

        33.      But these were far from newly-discovered defaults. On average, the Post-Closing

Work required by the Oak Street Side Letters was supposed to have been completed—according

to the dates listed on the Oak Street Default Notices—months before the date that the Oak Street

Default Notices were sent. Moreover, the alleged lack of financial reporting had been—according

to the Oak Street Default Notices—ongoing for three fiscal quarters. As noted, the Post-Closing

Work reflected a persistent low level of technical non-compliance that Oak Street was perfectly

aware was in the process of being remedied in the ordinary course of business. Even Oak Street

itself acknowledged that the financial reporting requirement was in need of updating.

F.      The Debtors’ Efforts to Obtain a Forbearance

        34.      After sending the Oak Street Default Notices, Oak Street asked to allow three of

the properties covered by the A&R Oak Street MLAs to be sold to third parties and relinquish an

additional 146 Oak Street Leased Properties to be “re-tenanted,” with the concomitant Fuel Supply

Agreements voided.

        35.      Thereafter, the Debtors retained Pachulski Stang Ziehl & Jones LLP (“PSZJ”) as

restructuring counsel, who contacted Kirkland & Ellis (“K&E”), counsel to Oak Street, and

requested that Oak Street forbear from exercising remedies under the Oak Street Default Notices

for a thirty-day period to enable to parties to meet and discuss their go-forward business

relationship. PSZJ informed K&E that relinquishing a substantial number of properties from the




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A&R Oak Street MLAs would decimate the Debtors’ business, cause it to default under its Fuel

Supply Agreements and prevent the Debtors from continuing to operate as a going concern. PSZJ

further informed K&E that unless Oak Street would agree to a forbearance agreement, the Debtors

would have no choice but to commence preparation of chapter 11 bankruptcy cases.

        36.      Over the succeeding days, the Debtors’ professionals continued to communicate

with Oak Street to try to reach some agreement on a thirty-day forbearance to avoid the

commencement of these Chapter 11 Cases. In connection therewith, the Debtors offered to meet

with Oak Street to discuss the Company’s current business plan, allow Oak Street to participate on

calls with the Prepetition Agent and otherwise provide Oak Street with information to enable it to

evaluate the Debtors’ current business operations.

        37.      As the deadline to cure the Alleged Non-Monetary Defaults approached, the parties

continued to discuss the terms of a forbearance and the Debtors requested that Oak Street provide

them with a proposed forbearance agreement.           During such discussions, Oak Street was

unwavering in its demands to have the Debtors relinquish a significant number of their properties.

The Debtors similarly were unwavering in their response that doing so would decimate the

Debtors’ business operations, causing harm to the Debtors’ stakeholders.

        38.      Finally, late in the day on March 15, 2023, Oak Street provided the Debtors with a

draft thirty-day forbearance agreement which demanded that the Debtors pay it $8.5 million by

mid-day on March 17, relinquish 75 sites for re-tenanting, and require the Debtors to facilitate Oak

Street’s contact with the Debtors’ creditors and trading partners, including the Secured Lenders

and counterparties to the Fuel Supply Agreements, in any manner requested by Oak Street.

Because agreeing to Oak Street’s terms would have been a breach of their fiduciary duties to other




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stakeholders and decimated the Debtors’ business, the Debtors rejected the proposal and instead

elected to commence these Chapter 11 Cases to preserve value under the A&R Oak Street MLAs.24

G.       The Debtors’ Prepetition Retention of Professionals and Appointment of Independent
         Directors

         39.     On February 10, 2023, the Debtors hired Raymond James & Associates, Inc.

(“Raymond James”) as its investment banker. On February 22 and March 9, 2023, respectively,

the Debtors retained PSZJ as its restructuring counsel and FTI as its financial advisor. On March

18, 2023, I was named the Debtors’ Chief Restructuring Officer.

         40.     On March 15, 2023, MEX appointed Craig Barbarosh and Lawrence Perkins to

serve as independent directors. Mr. Barbarosh is an experienced board member with over 30 years

of professional experience. He is serving or has served as an independent director for businesses

in a variety of industries, including healthcare, software, pharmaceuticals, and food service, among

others. A copy of Mr. Barbarosh’s curriculum vitae is attached hereto as Exhibit B-1. Mr. Perkins

is a Founder and Chief Executive Officer of SierraConstellation Partners, and has worked on a

variety of projects geared towards enhancing business performance for numerous companies on

projects ranging from interim management, profit improvement and working capital management

to strategic planning and transaction execution. He has served in a variety of capacities, including

Interim CEO/President, Chief Restructuring Officer, Board of Directors Member, Financial

Advisor, Strategic Consultant, and Investment Banker. A copy of Mr. Perkins’s curriculum vitae

is attached hereto as Exhibit B-2.




24
     On March 16, 2023, Oak Street provided the Debtors with a draft five-day forbearance agreement, however even
     that short-term forbearance agreement came with significant conditions that, if agreed to, would have been
     harmful to the Debtors.



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                                        V. FIRST DAY PLEADINGS25

         41.      I am familiar with the contents of each First Day Pleading (including the exhibits

and other attachments thereto) and, to the best of my knowledge, after reasonable inquiry, believe

the relief sought in each First Day Pleading: (a) will enable the Debtors to sustain operations while

in chapter 11; (b) is critical to the Debtors’ ability to maximize the value of their estates; and

(c) serves the best interests of the Debtors’ estates and creditors. Further, it is my belief that the

relief sought in the First Day Pleadings is in each case narrowly-tailored and necessary to achieve

the goals identified above.

                              ADMINISTRATIVE MOTIONS AND APPLICATIONS

A.       Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to Redact
         Certain Personally Identifiable Information, (II) Approving the Form and Manner of
         Notifying Creditors of the Commencement of the Chapter 11 Cases and Other
         Information, and (III) Granting Related Relief (the “Personal Information and Notice
         of Commencement Motion”)

         42.      Pursuant to the Personal Information and Notice of Commencement Motion, the

Debtors seek entry of an order (a) authorizing the Debtors to redact certain personally identifiable

information, (b) approving the form and manner of notifying creditors of the commencement of

these Chapter 11 cases, and (c) granting related relief.

         A.       Redaction of Certain Confidential Information of Individuals

         43.      I believe that it is appropriate to authorize the Debtors to redact from any paper

filed or to be filed with the Court in these Chapter 11 Cases, including the consolidated list of

creditors (the “Creditor Matrix”) and Schedules and Statements (defined below), the home

addresses of individual creditors including the Debtors’ employees, independent contractors, and



25
     Unless otherwise noted herein, capitalized terms used in this section have the meanings ascribed to them in the
     applicable First Day Pleading.



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former employees because such information can be used to perpetrate identity theft and phishing

scams or to locate survivors of domestic violence, harassment, or stalking, exposing the Debtors

to potential civil liability and significant financial penalties. The risk is not merely speculative. I

am informed that in at least one chapter 11 case, the abusive former partner of a debtor’s employee

used the publicly accessible creditor and employee information filed in the chapter 11 case to track

the employee at her new address that had not been publicly available until then, forcing the

employee to change addresses again.26

         44.      The Debtors propose to provide an unredacted version of the Creditor Matrix,

Schedules and Statements, and any other filings redacted pursuant to the Order to (a) the Court,

(b) the U.S. Trustee, (c) counsel to any official committee appointed in these Chapter 11 Cases,

and (d) any party in interest upon a request to the Debtors (email being sufficient) or to the Court

that is reasonably related to these Chapter 11 Cases. In each case, I believe that this would be

subject to a review of whether such disclosure, on a case-by-case basis, would violate any privacy

or data protection law or regulation. Moreover, nothing in the Personal Information and Notice of

Commencement Motion will prejudice a party in interest’s right to file a motion requesting that

the Court unseal the information redacted. In addition, the Debtors will distribute, as applicable,

any notices that are received at the Debtors’ corporate headquarters and are intended for a current

employee.

         45.      I believe that absent the relief requested in the Personal Information and Notice of

Commencement Motion the Debtors (a) would unnecessarily render individuals more susceptible

to identity theft and (b) could jeopardize the safety of claimants in these Chapter 11 Cases who,


26
     The incident, which took place during the first Charming Charlie chapter 11 proceedings in 2017, is described in
     the “creditor matrix motion” filed in In re Charming Charlie Holdings, Inc., No. 19-11534 (CSS) (Bankr. D. Del.
     Jul. 11, 2019), Docket No. 4.



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unbeknownst to the Debtors, are survivors of domestic violence, harassment, or stalking by

publishing their home addresses without any advance notice or opportunity to opt out or take

protective measures

        B.       Service of Required Notices to Creditors

        46.      In the Personal Information and Notice of Commencement Motion, the Debtors

propose that Kurtzman Carson Consultants LLC (the “Claims Agent”), the Debtors’ claims and

noticing agent, undertake all mailings directed by the Court or the U.S. Trustee or as may be

required under the Bankruptcy Code, including the notice of commencement of these Chapter 11

Cases, substantially in the form attached as Exhibit A to the order granting the Personal

Information and Notice of Commencement Motion (the “Notice of Commencement”). I believe

that using the Claims Agent to promptly provide notices to all applicable parties will maximize

efficiency in administering these Chapter 11 Cases and will ease administrative burdens that would

otherwise fall upon the Court and the U.S. Trustee. Additionally, the Claims Agent will assist the

Debtors in preparing creditor lists and mailing initial notices, and, therefore, it is more efficient to

authorize the Claims Agent to mail the notice of commencement of these Chapter 11 Cases.

Further, coordinating the mailing of notice of any bar date and the Notice of Commencement

through a single source, the Claims Agent, will reduce the opportunities for the dissemination of

conflicting or confusing information to parties in interest. Accordingly, I believe that the Claims

Agent should undertake such mailings, and that the Court should grant the relief requested in the

Personal Information and Notice of Commencement Motion.




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B.      Debtors’ Emergency Motion for Entry of an Order (I) Extending Time to File (A)
        Schedules of Assets and Liabilities, (B) Schedules of Current Income and Expenditures,
        (C) Schedules of Executory Contracts and Unexpired Leases, and (D) Statements of
        Financial Affairs, and (II) Granting Related Relief (the “Schedules Extension Motion”)

        47.      Pursuant to the Schedules Extension Motion, the Debtors seek entry of an order (a)

extending the deadline by which the Debtors must file their schedules of assets and liabilities,

schedules of current income and expenditures, schedules of executory contracts and unexpired

leases, and statements of financial affairs (collectively, the “Schedules and Statements”) by 46

days, for a total of 60 days from the Petition Date, through and including May 17, 2023, and (b)

granting related relief.

        48.      I believe there to be ample cause to grant the relief requested in the Schedules

Extension Motion. To prepare their Schedules and Statements, the Debtors will have to compile

information from books, records, and documents relating to thousands of claims, assets, leases,

and contracts from each of the 144 Debtor entities. Collection of the necessary information will

require a significant expenditure of time and effort on the part of the Debtors, their employees, and

their advisors at a time when such resources would be best used to stabilize the Debtors’ business

operations at the outset of these cases. Additionally, because this information is voluminous and

located in numerous places throughout the Debtors’ organization, it may be some time before the

Debtors have access to all of the information required to prepare the Schedules and Statements.

Compounding the difficulty in accurately preparing the Schedules and Statements, prior to the

Petition Date, the Debtors lost multiple employees who possessed extensive institutional

knowledge regarding the Debtors operations, assets, and records.

        49.      Although I believe that the Debtors’ management, employees, professional

advisors, and key personnel have prepared diligently for these Chapter 11 Cases, preparing the

Schedules and Statements was not practicable given the complex nature of the Debtors’ business.



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Prior to the Petition Date, the Debtors focused their efforts on preparing for a smooth transition

into chapter 11. Such efforts made it difficult for the Debtors to prepare the Schedules and

Statements in advance of the Petition Date.

        50.      The Debtors, with the assistance of their professional advisors, have been and will

continue working diligently and expeditiously to prepare the Schedules and Statements within the

additional time requested. I anticipate that the Debtors may require at least 60 days after the

Petition Date to complete the Schedules and Statements. I believe that an extension will not harm

creditors or other parties in interest because, even under the extended deadline, the Debtors will

file the Schedules and Statements in advance of an applicable deadline for filing proofs of claim

in these Chapter 11 Cases. Moreover, many of the Debtors’ records are maintained on a

consolidated basis, requiring further time and effort to file as accurate Schedules and Statements,

on a debtor by debtor basis, as possible. Absent the duration of the extension requested herein, the

Debtors may be required to file amendments to their Schedules and Statements, which could cause

undue confusion and uncertainty for parties wishing to review and rely upon the Schedules and

Statements filed in these Chapter 11 Cases without commensurate benefit. Accordingly, the Court

should grant the relief requested in the Schedules Extension Motion.



                                      OPERATIONAL MOTIONS

A.      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
        Maintenance of Existing Bank Accounts; (II) Authorizing Continuance of Existing
        Cash Management System; (III) Granting Limited Waiver of Section 345(b) Deposit
        Requirements; (IV) Authorizing Continued Performance of Intercompany Transactions
        and Funding; and (V) Granting Related Relief (the “Cash Management Motion”)

        51.      Pursuant to the Cash Management Motion, the Debtors seek entry of interim and

final orders (i) authorizing the Debtors to (a) continue operating the Cash Management System (as

defined herein); (b) honor and pay the Bank Fees (as defined herein) in the ordinary course,


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including any prepetition Bank Fees; (c) maintain existing business forms; and (d) continue

intercompany transactions and funding consistent with the Debtors’ historical practices, subject to

the terms described herein; (ii) granting a limited waiver of the deposit and investment

requirements imposed by section 345(b) of the Bankruptcy Code; and (iii) granting related relief.

        A.       The Cash Management System

        52.      In the ordinary course of business, the Debtors utilize a centralized cash

management system (the “Cash Management System”) to collect, manage, and disburse funds used

in their business. The Cash Management System is essential to the stability of the Debtors’ assets

and business objectives and to maximizing the value of their estates. Importantly, the continuity

of the Cash Management System is critical to the Debtors’ ability to procure and transport fuel

products offered at loading terminals controlled by major oil company providers to the Debtors.

        53.      The Cash Management System is tailored to meet the operating needs of the

Debtors by enabling them to centrally control and monitor corporate funds, ensure cash availability

and liquidity, and reduce administrative burdens by facilitating the movement of funds between

and among the Debtors. I believe these controls are critical to the operation of the Debtors’

businesses given the significant volume of transactions managed through the Cash Management

System. The Debtors’ treasury department maintains daily oversight over the Cash Management

System and controls the entering, processing, and releasing of funds, including in connection with

Intercompany Transactions (defined below). As the Debtors require prompt access to cash for

their daily operations, I believe any disruption of the Cash Management System would have an

immediate and devastating adverse effect on the Debtors’ operations to the detriment of their estates

and stakeholders.




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         B.       Bank Accounts and Funds Flow

         54.      As of the Petition Date, the Debtors maintain bank accounts at 25 different banks

(the “Cash Management Banks” or “Banks”), of which 144 open bank accounts are owned by the

Debtors (the “Debtor Bank Accounts” or “Bank Accounts”).27 The Debtors’ primary Cash

Management Bank is First Horizon Bank (“First Horizon”),28 which at which the Debtors maintain

33 Bank Accounts. A listing of the Bank Accounts and applicable information therefor is set forth

in the following exhibits attached to the Cash Management Motion: Exhibit 1 (schematic

overview), Exhibit 2 (listing of closed or inactive accounts), and Exhibit 3 (listing of prepetition

date balances) (each a “CM Exhibit”).

         55.      The Debtors have approximately 144 open Bank Accounts. In due course, the

Debtors expect to close their inactive Bank Accounts unless business needs for such accounts arise

during the cases. The basic elements of the current Cash Management System (as further

illustrated by CM Exhibit 1) consist of:

              Wholesale Fuel: One main First Horizon operating account held by Mountain Express
               Oil Company is the primary operating account for the Debtors’ wholesale business.
               See p. 1 of CM Exhibit 1 (Wholesale & Corporate Master Operating Account, IB-9820
               (“Wholesale Operating Account”)). Funds are swept via ZBA (zero balance account)
               transfers to the Wholesale Operating Account from a variety of deposit subaccounts.
               Certain of these deposit subaccounts (“Fuel Subaccounts”) are established to process
               obligations due to the major fuel suppliers (i.e. Chevron, Exxon, etc.), and payments
               due from the Debtors’ network of fuel dealers and other fuel vendors on account of
               corresponding fuel deliveries to such parties.29 The Wholesale Operating Account also



27
     The Debtors administer and manage certain accounts for non-Debtor entities pursuant to operating agreements or
     other arrangements. Such accounts and the funds therein belong to the applicable non-Debtor party (subject to
     any applicable agreements), and are not commingled with the accounts (and funds therein) held in the Company’s
     name.
28
     First Horizon Bank merged with IBERIABANK in 2020.
29
     The Fuel Subaccounts are generally designed so that fuel purchases (from the major oil companies) are tied by
     brand to fuel sales (to the Debtors’ network of dealers). In other words, the Chevron Fuel Subaccount is dedicated
     to transactions, both in-bound and out-bound, of Chevron branded fuel. Receipts and drafts are made against
     each particular Fuel Subaccount on a daily basis; any daily net profit in the Fuel Subaccounts are swept daily


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              funds disbursement accounts which make payments for general corporate purposes
              (including payroll expense, rental expense, taxes, etc.), and funds the loan accounts
              from which periodic interest and principal payments are made pursuant to the Debtors’
              financing arrangements with First Horizon (as agent for itself and the other lenders).
              See p. 1 of CM Exhibit 1.

             Retail Business: Generally, as illustrated on page 2 of CM Exhibit 1, the Debtor Bank
              Accounts are aligned among the Debtors’ various retail segments, with intermittent
              transfers up and down to higher operation and disbursement accounts, including in
              particular, Retail Master Operating Account IB-2998 (“Retail Master Operating
              Account”) (generally supporting the West Hill, Mountain Express, Fox Fuel, Quik
              Check, Central Oil and Fresh Pantry retail segments) and Concentration Account IB-
              9813 (generally supporting the Brothers retail segment)).

                 o Cash activity for each of the retail segments is aggregated at a concentration
                   account.

                 o As illustrated on p. 2 of CM Exhibit 1, underlying the Retail Master Operating
                   Account are a variety of sub-accounts, most of which align with individual
                   locations, clusters of locations, and/or types of disbursements (payroll, utilities,
                   general accounts payable). Receipts are also received at the subaccount level
                   before being consolidated at the concentration account. Receipts sweep to the
                   respective concentration accounts whereas the disbursement accounts sweep
                   from the concentration accounts.            Generally, receipt activity at the
                   concentration account level is sufficient to fund operating disbursements.
                   Periodically transfers are made from the main retail operating accounts to
                   satisfy any shortfall (discussed further below).

In any given period the foregoing operating accounts collectively represent approximately 90% of

all cash activity of the Debtors. Payments to creditors and other parties are made from the Bank

Accounts, in a variety of ways, including checks, drafts, wire transfers, credit cards, and automated

clearinghouse (“ACH”) transfers.

        56.      All funds on deposit in the Debtors’ Bank Accounts are insured by the Federal

Deposit Insurance Corporation to the extent provided by law. Most but not all of the Cash

Management Banks are on the Region 7 U.S. Trustee’s list of approved depository institutions.

The Debtors believe that the institutions listed on CM Exhibit 1 that are not U.S. Trustee-approved


    (ZBA) to the Wholesale Operating Account. Due to timing differences, funds occasionally may be transferred
    from the Wholesale Operating Account to a Fuel Subaccount to cover any shortfalls.



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(the “Non-U.S. Trustee Approved Depositories”) are nonetheless stable entities, and the Debtor

Bank Accounts thereat typically hold relatively small amounts of cash (below the $250,000 FDIC

insurance limit) or are ZBAs, as discussed further herein. The Debtors do not invest any of their

excess cash on hand.

         57.      Certain of the Bank Accounts maintained by the Debtors contain credit card

receipts and/or other cash receipts from retail transactions undertaken by an applicable Dealer,

which funds the Debtors temporarily hold and use as a security deposit pending the Debtors’ and

dealer’s reconciliation of the amounts due to and from the other party under the parties’ applicable

agreements and arrangements, which occurrence frequency varies but sometimes occur several

times each month.30

         C.       Intercompany Transactions

         58.      In the ordinary course of business, the Company engages in intercompany

transactions and transfers of funds among various Bank Accounts (“Intercompany Transactions”).

As a result, Intercompany Transactions may exist that reflect intercompany receivables and

payables (“Intercompany Claims”) made in the ordinary course of business between and among

Debtors.

         59.      These Intercompany Claims include those arising from transfers from the

respective main accounts for West Hill Ranch Group and/or MEX to individual retail accounts,

when interim funding for retail related operations (for particular locations and/or particular

expenses) is needed. Such intercompany transfers for shortfall funding are relatively uncommon,

and are recorded in the Debtors’ books as intercompany receivables/payables.


30
     Relating to such temporary holdbacks, the Debtors have filed the Dealer Reconsolidation Motion (defined below).
     Further, the Debtors maintain certain accounts (listed on CM Exhibit 1) holding state lottery related funds, which
     funds are the subject of the contemporaneously filed Tax Motion (defined below).



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        60.      The Debtors record and track the Intercompany Transactions and Intercompany

Claims that occur across the corporate structure, as and after they occur, through entries in the

general ledger. On a postpetition basis, the Debtors will continue to track, record, and monitor

Intercompany Transactions in the ordinary course of business.

        61.      By the Cash Management Motion, the Debtors seek to balance their desire to

minimize disruptions to their businesses and preserve estate value, on the one hand, and to provide

this Court with an appropriate level of supervision and oversight, on the other hand. Thus, the

Debtors propose the following approach with respect to each postpetition Intercompany

Transaction (each, a “Postpetition Intercompany Transaction”): the Debtors seek authority in the

Cash Management Motion, but not direction, to continue entering into ordinary course Postpetition

Intercompany Transactions (including with respect to any netting and setoff) without further notice

or Court approval. The Debtors will maintain current records with respect to all postpetition cash

transfers so that all Postpetition Intercompany Transactions may be readily ascertained, traced and

properly recorded on any applicable intercompany accounts.

        62.      Further, to ensure that no Debtor will fund the operations of a Debtor at the expense

of such entity’s creditors, the Debtors respectfully request under the Cash Management Motion

that all Intercompany Claims on account of valid postpetition transfers from a Debtor to another

Debtor be accorded administrative expense status, subject and junior only to the claims, including

adequate protection claims, granted in connection with the Debtors’ use of cash collateral, and in

accordance with any interim and final order, as applicable, approving the use of cash collateral

(collectively, the “Cash Collateral Orders”).




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        D.       Bank Fees

        63.      The Debtors incur certain fees and charges in connection with the ordinary course

operation of the Cash Management System (collectively, the “Bank Fees”). The Bank Fees include

account maintenance charges, charges relating to ACH and wire transfers, lockbox and depository

service charges, and other customary miscellaneous charges. On average, the Debtors incur

approximately $10,000 in Bank Fees per month. In the ordinary course of business and typically

on a monthly basis, the Bank charges the Debtors and deducts from the appropriate bank accounts

certain service charges, and other fees, costs, and expenses. The Debtors do not believe there are

any material prepetition Bank Fees outstanding on the Petition Date, but nonetheless seek approval

in the Cash Management Motion to pay and, for the Bank to deduct, any such Bank Fees in the

ordinary course when due.

        E.       Business Forms

        64.      The Debtors utilize numerous preprinted business forms in the ordinary course of

their business (including, without limitation, letterhead, purchase orders, invoices, and checks),

including in connection with their Cash Management System. I understand that the Debtors would

be required by the U.S. Trustee under its guidelines to incur the expense and delay of ordering

entirely new business forms referencing the Debtors’ status as debtors-in-possession absent relief

from the Court. The Debtors seek authority to use pre-existing business forms without such a

reference in order to minimize expense to the estates. The Debtors submit that parties in interest

will not be prejudiced if such relief is granted because parties doing business with the Debtors will

likely be aware of their status as debtors-in-possession and, therefore, changing business forms is

unnecessary and would be unduly burdensome. To the extent the Debtors exhaust their existing




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supply of checks, the Debtors will reorder checks with the designation “Debtor-in-Possession” and

the corresponding case number.

        F.       Compliance with the U.S. Trustee Guidelines and Section 345 of the
                 Bankruptcy Code

        65.      I understand that under the U.S. Trustee’s guidelines, the U.S. Trustee generally

requires chapter 11 debtors to, among other things, deposit all estate funds into an account with an

authorized depository that agrees to comply with the requirements of the U.S. Trustee’s office. I

also understand that all of the Bank Accounts set forth in CM Exhibit 1 are FDIC-insured (up to

applicable limits), and most of the Bank Accounts are maintained at institutions that have executed

a Uniform Depository Agreement (“UDA”) with, and are designated as authorized depositories

by, the U.S. Trustee. I believe that the Non-U.S. Trustee Approved Depositories are reputable and

financially stable. Further, all accounts held at the Non-U.S. Trustee Approved Depositories either

(i) are ZBAs (zero balance accounts), or (ii) on average, contain relatively small amounts of funds

(below the $250,000 FDIC insurance limit) as reflected in CM Exhibit 3 (balances), and are

periodically swept to zero by the Debtors.

        66.      As set forth in the proposed interim order approving the Cash Management Motion,

with respect to the foregoing entities, the Debtors request through May 4, 2023 (subject to the right

to seek additional extensions) to comply with section 345(b) or to make other arrangements to

which the U.S. Trustee agrees.

        67.      I believe that any applicable U.S. Trustee and section 345 requirements could

properly be waived or otherwise modified. Given the Debtors’ extensive operations and cash

management requirements overall (including the large number of Debtors’ fuel stations and travel

centers), it is not feasible to consolidate all applicable cash activities to the narrow group of

financial institutions approved in the U.S. Trustee’s guidelines. Requiring the Debtors to adopt a



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new cash management system relating to the Debtors’ widespread business operations at this

critical stage of the Chapter 11 Cases would be unduly expensive, create unnecessary

administrative burdens, and be extraordinarily disruptive to the operation of the Debtors’ business.

I believe that all of the Bank Accounts are maintained at reputable, financially stable banks and

financial institutions, which are well-positioned to continue performing depository and cash

management functions during the Chapter 11 Cases. As set forth in the proposed interim order

approving the Cash Management Motion, the Debtors will work collaboratively with the U.S.

Trustee to address any concerns it may have, subject to the Debtors’ right to seek further relief

with this Court.

        68.      In sum, I believe the Cash Management System is critical to the ongoing stability

of the Debtors’ businesses and smooth transition into chapter 11. Requiring the Debtors to transfer

any of the above-described Bank Accounts to other depositories would place a needless and

excessive administrative burden on the Debtors and impose significant, value-destructive costs to

the Debtors’ estates. In any event, the Debtors will continue to work in good faith with the U.S.

Trustee to address any concerns regarding the continued use of these accounts on a postpetition

basis. Accordingly, the Court should grant the relief requested in the Cash Management Motion.

B.      Debtors’ Emergency Motion for Entry of an Order Authorizing the Debtors to (i) Pay
        and/or Honor Prepetition Wages, Salaries, Bonus Payments, Employee Benefits, and
        Other Compensation; (ii) Remit Withholding Obligations and Deductions; (iii) Maintain
        Employee Compensation and Benefits Programs and Pay Related Administrative
        Obligations; and (iv) Have Applicable Banks and Other Financial Institutions Receive,
        Process, Honor, and Pay Certain Checks Presented for Payment and Honor Certain
        Fund Transfer Requests (the “Wage Motion”)

        69.      Pursuant to the Wage Motion, the Debtors seek entry of an order ”), authorizing the

Debtors, in their sole discretion: (a) to pay and honor, inter alia, certain prepetition claims of their

employees (collectively, the “Employees”) for wages, salaries, and compensation (the “Wages”);

(b) to pay and honor employee benefits and expense reimbursements and honor and pay incentive


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payments owed to certain non-insider Employees (collectively, the “Benefits” and, together with

Wages, the “Wages and Benefits”); (c) remit withholding obligations and employee deductions

and withholdings; and (d) to continue to pay and honor such Wages and Benefits as they become

due postpetition in the ordinary course of the Debtors’ business. In the Wage Motion, the Debtors

seek authority to pay or honor, in their sole discretion, the following, subject to the limits noted in

the chart below (collectively, the “Prepetition Employee Obligations”):

                                   Wages or Benefits                        Amount
                    Gross Wages                                              $625,000
                    Administrative fees (payroll processing,
                                                                              $50,000
                    COBRA, HSAs)
                    Corporate Credit Card Program                            $102,000
                    Incentive and Commission Payments                        $100,000
                    Independent Contractors                                   $50,000
                    Miscellaneous Benefits                                    $25,000


         A.       General Employee Overview

         70.       As of March 16, 2023, the Debtors employed approximately 180 full-time

Employees and 79131 part-time Employees. Full-time Employees are those normally scheduled to

work on average of 30 or more hours per week while part-time Employees are those normally

scheduled to work on average of less than 30 hours per week.32 The Employees are not unionized.

The Debtors also supplement their workforce with certain independent contractors who provide

IT services (the “Independent Contractors”).33



31
     The census fluctuates frequently.
32
     Some part-time Employees work more than 30 hours per week from time to time.
33
     The Debtors retain the Independent Contractors through an employment agency.



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         71.     Non-Debtor affiliates Adelphi Transport LLC (“Adelphi Transport”) and Adelphi

Environmental Services LLC (“Adelphi Environmental” and, together with Adelphi Transport,

“Adelphi”), employ approximately 102 full-time employees as of the Petition Date. The Debtors,

in the ordinary course, funded Adelphi’s payroll together with the payroll of the Debtors and are

reimbursed by Adelphi for the payroll.34 In year-to-date 2023 to date, Adelphi’s payroll has

averaged approximately $365,000 per month.

         72.     Pursuant to the Wage Motion, the Debtors seek to pay or honor all Wages and

Benefits and other amounts detailed therein, to the extent described herein, on an ongoing basis

and in the ordinary course of business and subject to the applicable limits under section 507(a) of

the Bankruptcy Code. I believe there is no good reason for the regular payment of Wages and

Benefits to be disrupted, which would directly harm the Debtors and their Employees.

         B.      The Debtors’ Payroll Schedules and Payroll Amounts

         73.     The Debtors’ payroll schedules are as follows:

         74.     Cycle No. 1: Mountain Express Oil, Adelphi Environmental. These Employees are

paid every other week, 5 days in arrears. The applicable biweekly pay date (the “Cycle 1 Pay

Date”) occurs every other Wednesday. The last Cycle 1 Pay Date was March 15, 2023. The next

Cycle 1 Pay Date will be on Wednesday, March 29, 2023 for accrued wages owing through March

24, 2023.

         75.     Cycle No. 2: Quik Chek, Adelphi Transport. These Employees are paid each week,

6 days in arrears. The applicable weekly pay date (the “Cycle 2 Pay Date”) occurs each Friday.




34
     In the case of Adelphi Environmental, payment to the Debtors has been made by deducting from the A/R balance
     owed by the Debtors to Adelphi Environmental. Postpetition, Adelphi Environmental will make cash
     reimbursements to the Debtors following the Debtors’ payments on account of the Adelphi Environmental
     Employees’ payroll.



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The last Cycle 2 Pay Date was March 17, 2023. The next Cycle 2 Pay Date will be on Friday,

March 24, 2023 for accrued wages owing through March 18, 2023.

        76.      Cycle No. 3: Brothers Petroleum, Big Red, Grab ‘n Go, WHRG Entities. These

Employees are paid every other week, 6 days in arrears. The applicable biweekly pay date (the

“Cycle 3 Pay Date” and together with the Cycle 1 Pay Date and the Cycle 2 Pay Date, the “Pay

Dates”) occurs every other Friday. The last Cycle 3 Pay Date was March 17, 2023. The next Cycle

3 Pay Date will be on Friday, March 31, 2023 for accrued wages owing through March 25, 2023.

        77.      Two business days prior to each Pay Date, the Debtors’ payroll service provider,

Proliant (the “Payroll Processor”), drafts the funds from the Debtors’ segregated payroll account

at First Horizon Bank, and the funds are automatically transferred that same day. Wages are paid

to Employees the following Wednesday or Friday, as applicable, via direct deposit. In rare

circumstances, the Debtors issue manual paychecks with respect to off-payroll cycle payments,

payroll adjustments, and other limited situations (collectively, the “Manual Checks”). To the extent

any prepetition Manual Checks have not been cashed, the Debtors request authority to reissue

Manual Checks postpetition to the affected Employees for any prepetition amounts owed. The

Payroll Processor also remits Deductions and Withholding Obligations (each as defined below) to

the appropriate taxing and governmental jurisdictions on each Pay Date.

        78.      In the Wage Motion, the Debtors seek authority, in their discretion, to continue to

fund Adelphi’s payroll consistent with past practice, and subject to subsequent cash reimbursement

by Adelphi. As part of such requested relief, the Debtors seek authority to permit the Payroll

Processor to continue to process the Debtors’ payroll obligations, including of Adelphi, in the

ordinary course of business. The Debtors believe that they are current to the Payroll Processor on

account of unpaid payroll servicing fees. To the extent that any fees are still outstanding to the




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Payroll Processor as of the Petition Date, the Debtors request authority in the Wage Motion, in

their discretion, to remit such amounts, not to exceed $50,000.

        79.      The Debtors estimate that they will accrue approximately $625,000 in prepetition

unpaid Wages between the end of the prior pay period and the Petition Date. To ensure there is no

interruption in payment of amounts to Employees, the Debtors have funded $300,000 (the amount

of the upcoming pay cycle) prepetition to the Payroll Processor in advance of the Petition Date.

        C.       Gross Pay Deductions and Payroll Taxes

        80.      For each applicable pay period, the Debtors routinely deduct certain amounts from

each Employee’s gross payroll, including, without limitation, garnishments, child support, spousal

support, and similar deductions and other pre-tax and post-tax deductions payable pursuant the

employee benefit plans discussed herein (including, for example, the Employee’s share of health

care benefits, retirement plan contributions, legally ordered deductions, and miscellaneous

deductions) (collectively, the “Deductions”). As set forth below, I understand that the Deductions

are not property of the Debtors or their estates and are withheld from Employees’ gross payroll

and remitted to the appropriate third parties. On average, the Debtors’ payroll Deductions total

approximately $35,000 per month, which the Debtors remit to the appropriate third-party

recipients. As of the Petition Date, certain of the Deductions may not yet have been transmitted to

the appropriate third party recipients and the Debtors request authority to transfer any Deductions

to the appropriate third party recipients or as may be required under applicable nonbankruptcy law.

        81.      In addition to the Deductions, applicable federal and state laws require the Debtors

to withhold amounts related to federal, state, and local income taxes, Social Security, and Medicare

taxes for remittance to the appropriate federal, state, or local taxing authorities (collectively, the

“Withholding Obligations”). The Debtors must also pay, from their own funds, for Social Security




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and Medicare taxes and pay, based on a percentage of gross payroll, additional amounts for federal

and state unemployment insurance (collectively the “Employer Payroll Taxes,” and, together with

the Withholding Obligations, the “Payroll Taxes”). On average, the Payroll Taxes per month,

including both the Employee and employer portions, total approximately $900,000.

         82.      To the extent any of the prepetition Deductions or Payroll Taxes have not yet been

forwarded to the appropriate third-party recipients, the Debtors seek authority in the Wage Motion

to forward such amounts (and to continue to forward Deductions and Payroll Taxes on a

postpetition basis whether or not related to the prepetition period) to the applicable third-party

recipients in the ordinary course of business and consistent with past practice.

         D.       Corporate Credit Card Program

         83.      The Debtors offer certain Employees35 a corporate credit card to utilize for

authorized business expenditures. As of the Petition Date, there are approximately 47 issued

American Express corporate credit cards (the “Corporate Credit Card Program”). The Debtors

pay these credit cards directly, and Employees are not liable for the balances of the Corporate

Credit Card Program. The majority of the expenses incurred under the Corporate Credit Card

Program are by the Debtors’ district managers who regularly incur travel expenses, including

rooms, meals, and incidentals such as gas and mileage expenses, as well as emergency repairs and

maintenance costs associated with fuel tanks and fuel delivery vehicles. In the year to date,

monthly payments by the Debtors to American Express have averaged approximately $220,000.

As of the Petition Date, the Debtors estimate that they owe approximately $102,000 on account of




35
     In addition to Employees of the Debtors, certain credit cards have been issued to Adelphi (the “Adelphi Credit
     Cards”). On a go-forward basis (including with respect to all amounts to be paid pursuant to the Wage Motion),
     the Debtors will not pay any amounts under the Corporate Credit Card Program on account of the Adelphi Credit
     Cards unless Adelphi reimburses the Debtors for such payments.



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the Corporate Credit Card Program. The Debtors seek authority in the Wage Motion to pay all

outstanding amounts owed on account of the Corporate Credit Card Program and to continue the

Corporate Credit Card Program in the ordinary course in their discretion.

         E.      Employee Incentive and Commission Payments

         84.     The Debtors do not generally provide Employees with bonuses, other than

(a) specific retention incentives offered to certain Employees related to the 2021 acquisition of

Brothers Petroleum36 and (b) in connection with the conversions of retail convenience stores to

dealerships to reward loyalty and performance (the “Incentive Payments”). The Debtors’ ability to

fund the Incentive Payments has been critical to maintaining Employee morale and loyalty. The

Incentive Payments provide the eligible Employees with stability and incentivizes them to

continue to support critical components of the Debtors’ operations. None of the Employees to

whom Incentive Payments will be paid pursuant to the Wage Motion are insiders of the Debtors.

         85.     In addition, the Debtors pay certain Employees commissions based on various

criteria, such as sales, on a regular basis (i.e., monthly or quarterly) (the “Commissions”), and

together with the Incentive Payments, the “Incentive and Commission Payments”). The

Commissions are paid through a combination of payroll, 1099, and W-2.

         86.     The Debtors wish to honor the prepetition amounts owed to their Employees for

Incentive and Commission Payments as these amounts are an element of compensation that is

relied upon by participating Employees. The Debtors seek authority in the Wage Motion, in their

discretion, to pay the Incentive and Commission Payments up to $100,000 in the aggregate, and




36
     Two incentive payments of $20,000 each are due on March 31, 2023. The retention incentives to certain
     accountants were provided in late 2021.



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to continue to pay the Incentive and Commission Payments that may arise postpetition in the

ordinary course of business and in the Debtors’ discretion.

        F.       Independent Contractors

        87.      The Debtors are invoiced for the services of the Independent Contractors. The

Debtors have paid approximately $12,000 year to date, representing services provided in January

2023. As the amount owing depends on hours actually spent, the precise amount of prepetition

amounts owing to the Independent Contractors is unknown. Accordingly, the Debtors seek

authorization in the Wage Motion in their discretion to pay up to the amount of $50,000 on account

of prepetition amounts that may be owing to Independent Contractors.

        G.       Health Benefits

        88.      The Debtors provide health insurance to certain Employees, including, inter alia,

medical and prescription drug, dental, vision, disability, COBRA, and health savings accounts

(collectively, the “Health Plans”), as described in more detail below. Each pay period, Employees

make contributions toward the Health Plans for medical, dental, and vision coverage, and the

Debtors deduct the Employees’ contributions, if applicable, owing under the Health Plans from

their Wages as Deductions.

                 a.       Medical, Dental and Vision Insurance.

        89.      The Debtors offer a choice of a point of service (POS) or high-deductible medical

plan through Anthem (“Anthem”) for full time Employees and their dependents (collectively, the

“Anthem Medical Plan”). The Anthem Medical Plan is fully insured. Employees enrolled in the

Anthem Medical Plan pay approximately 33% of the cost through premium contributions. In

addition to health care coverage, participants in the Anthem Medical Plan receive telemedicine

health care service, prescription drug coverage, and a 24/7 nurse line at no additional cost.




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        90.      For legacy Brothers Petroleum Employees in New Orleans, the Debtors offer a

medical plan through Humana (the “Humana Medical Plan” and together with the Anthem Medical

Plan, the “Medical Plans”). The Humana Medical Plan is also fully insured.

        91.      Based on the current number of enrolled Employees and dependents, the Debtors

pay approximately $200,000 monthly in the aggregate on account of the Medical Plans, inclusive

of Employee contributions. The Debtors are current on obligations to Anthem, however the

payment made on account of the Humana invoice dated March 1, 2023 in the approximate amount

of $50,000 was returned. The Debtors seek authority in the Wage Motion to pay any prepetition

amounts owing to Humana and to continue to pay postpetition amounts under the Medical Plans

in the ordinary course of business and in the Debtors’ discretion.

        92.      The Debtors also offer dental plans (the “Dental Plan”) and vision plans (the

“Vision Plan”) through Anthem and Humana. Employees’ Dental Plan and Vision Plan premiums

are covered partially by Employee contributions. Except as set forth above, the Debtors are current

on monthly premiums to Anthem and Humana. In an abundance of caution, the Debtors seek

authority in the Wage Motion to pay any prepetition amounts owing to Anthem and Humana as

they come due in the ordinary course of business, and to continue to honor the Dental Plan and

Vision Plan postpetition, in the Debtors’ discretion.

                 b.       COBRA Benefits.

        93.      The Consolidated Omnibus Budget Reconciliation Act (“COBRA”) gives workers

and their families who lose their health benefits the right to choose to continue the group health

benefits provided by their group health plan for limited periods of time under certain

circumstances, such as voluntary or involuntary job loss, reduction in the hours worked, transition




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between jobs, death, divorce, and other life events. Qualified individuals are generally required to

pay the entire premium for coverage, up to 102 percent of the cost to the plan.

        94.      COBRA generally requires that group health plans sponsored by employers with

20 or more employees in the prior year offer employees and their families the opportunity for a

temporary extension of health coverage (called continuation coverage) in certain instances where

coverage under the plan would otherwise end. These former Employees fund approximately 102

percent of the cost of their health plan. Former Employees electing to receive COBRA benefits

pay fixed premiums to Flores & Associates (for the Anthem Medical Plan) and iSolved (for the

Humana Medical Plan), the Debtors’ COBRA administrators. As of the Petition Date, the Debtors

are unaware of any outstanding prepetition administrative COBRA fees that may be owed by the

Debtors. Out of an abundance of caution, the Debtors seek in the Wage Motion to pay any unpaid

prepetition COBRA administrative fees to Flores & Associates and iSolved, and to continue to pay

postpetition COBRA administrative fees in the ordinary course of business and in the Debtors’

discretion.

                 c.       Health Savings Accounts

        95.      As noted above, the Debtors provide eligible Employees with Health Savings

Accounts (“HSAs”), administered by Anthem, which help defray the costs of the Employees’

Health Plan deductibles and co-pays. Specifically, Employees may use HSA funds to pay medical

expenses, including deductible payments, coinsurance, prescription drugs, urgent and emergency

care, lab tests, and hospital visits. The Debtors seek authority in the Wage Motion to continue to

withhold and remit payments to the HSAs.




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                 d.       Life Insurance, Accidental Death & Dismemberment and
                          Disability Plan

        96.      Full-time Employees of the Debtors may elect voluntary life insurance and AD&D

coverage for themselves and dependents (the “Life/AD&D Insurance Plan”) through Lincoln

Financial Group (“Lincoln”) at the sole cost of the Employees. The Employees pay all premiums

in connection with the Life/AD&D Insurance Plan. Additionally, the Debtors may elect voluntary

long-term disability and short-term disability coverage (the “Employee Disability Plan”).

        97.      The Debtors do not incur any costs of administration of these programs. The

Debtors are current on payments owing under the Basic Life/AD&D Insurance Plan and Employee

Disability Plan on behalf of the Employee participants. In an abundance of caution, the Debtors

seek authority to pay unpaid prepetition amounts on account of the Basic Life/AD&D Insurance

Plan and Employee Disability Plan, and to continue to pay postpetition premium amounts on

account of the Basic Life/AD&D Insurance Plan and Employee Disability Plan in the ordinary

course of business and in the Debtors’ discretion.

                 e.       Holidays, Vacation and Sick Leave

        98.      Employees have six paid holidays per year. The Debtors also award paid time off

(“PTO”) to Employees. Employees of Debtor Mountain Express Oil Company (the “Corporate

Employees”) in their first four years of employment by the Debtors accrue 3.08 hours of PTO per

bi-weekly payroll cycle (totaling two weeks per year). Starting their fifth year of consecutive

employment, Corporate Employees accrue 4.61 hours of PTO per bi-weekly payroll cycle (totaling

three weeks per year). Corporate Employees also accrue five days of paid sick leave per year (“Sick

Leave”).

        99.      Store Employees start earning PTO after one year of consecutive employment.

During their first four years of employment, they earn two days of PTO per year. Starting their



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fifth year of consecutive employment, store Employees accrue five days of PTO per year.

Employees may roll over a maximum of 40 hours of PTO to the following year provided that it

must be used by March 1.

         100.    Pursuant to the Wage Motion, the Debtors seek authority to continue to honor their

PTO and Sick Leave programs in the ordinary course of business by allowing Employees to use

accrued prepetition PTO and Sick Leave postpetition in the Debtors’ discretion and consistent with

past practice. The Debtors also seek authority in the Wage Motion, but not the obligation, in their

sole discretion, to pay out any accrued and prepetition PTO amounts that are owed to Employees

solely to the extent their employment with the Debtors is terminated postpetition in accordance

with their ordinary course business practices and/or applicable law.

                 f.       401(k) Plan37

         101.    The Debtors provide Employees who have been employed by the Debtors for at

least six (6) months with a 401(k) retirement plan (the “401(k) Plan”). Employee contributions are

withheld from paychecks as Deductions. To the extent any prepetition 401(k) Deductions have not

yet been made, the Debtors seek authority to process those Deductions.

         102.    Historically, the Debtors have matched up to 4% of eligible earnings. In 2022, the

Debtors funded matching contributions to the 401(k) Plan in the amount of approximately

$115,000.

         103.    The Debtors are in the process of employing an auditor for the 401(k) Plan (the

“401(k) Plan Audit”) in accordance with compliance requirements under certain Department of

Labor and IRS regulations. The 401(k) Plan Audit fees are estimated to be approximately $30,000,



37
     The 401(k) Plan is the only active retirement plan currently offered by the Debtors which the Debtors seek
     authority under the Wage Motion.



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to be conducted and paid in the coming months. The Debtors intend to pay postpetition amounts

with respect to the 401(k) Plan Audit in the ordinary course of business and in their discretion.

        104.     The 401(k) Plan is maintained by Human Interest, Inc. (“Human Interest”). The

Debtors seek authority, in their discretion, to continue the 401(k) Plan postpetition in the ordinary

course of business, consistent with their prepetition policies, including paying all fees to Human

Interest associated therewith.

        H.       Other Benefits

        105.     As of the Petition Date, the Debtors offer eligible Employees with additional

miscellaneous benefits including the following (collectively, the “Miscellaneous Benefits”):

                The Debtors provide an employee assistance program (the “EAP”) through
                 Lincoln Financial Group, which is designed to assist employees in resolving
                 personal problems that may be adversely affecting the Employee’s
                 performance including child or elder care, relationship challenges, financial
                 or legal problems, wellness matters, and traumatic events like workplace
                 violence. Programs are delivered at no cost to Employees by Master’s level
                 counselors. Services are often delivered via phone, video-based counseling,
                 online chatting, e-mail interactions, or face-to-face;

                Employees may enroll for DailyPay payroll benefits. For enrollees in
                 DailyPay, the Employee will build up a “pay balance” in the DailyPay
                 account each day worked that can be transferred into the Employee’s bank
                 account, to the Employee’s debit card or to the Employee’s payroll card. This
                 balance is updated when the Employee clocks out of each shift;

                TravelConnect is a comprehensive program that can assist with accessing care
                 for a medical emergency while traveling 100 or more miles from home.
                 Employees enrolled in the Debtors’ voluntary life insurance and/or AD&D
                 benefits plans have access to TravelConnect 24 hours, 7 days a week; and

                Employees enrolled in the Debtors’ voluntary life insurance and disability
                 benefits plans will have access to LifeKeys. LifeKeys is a service that offers
                 discounts on shopping and entertainment, identity theft protection, will
                 preparation, and additional services.

        106.     The Debtors anticipate that any prepetition amounts owing in connection with the

Miscellaneous Benefits are de minimis and seek authority under the Wage Motion in the abundance

of caution to pay up to $25,000 on account of prepetition Miscellaneous Benefits costs owed and




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to continue to administer these and similar programs and pay amounts owed on account of the

Miscellaneous Benefits postpetition in the ordinary course of business and in their discretion.

        I.       Workers’ Compensation Insurance

        107.     The Debtors maintain no-deductible workers’ compensation insurance (the “WC

Program”) to provide Employees with coverage for injury claims arising from or related to their

employment with the Debtors (the “WC Claims”) in accordance with applicable state law. The

Debtors’ insurance carrier is Federated Mutual Insurance Company (“FMIC”).

        108.     For the mid-2022 to mid-2023 policy year, the annual premium was approximately

$1.2 million based on estimated annual payroll, with a true-up at the end of the policy year. The

Debtors pay the policy in monthly installments and are current on premiums owing to FMIC. Out

of abundance of caution and to avoid any potential interruptions in coverage or administration of

claims, the Debtors seek authority in the Wage Motion to pay to FMIC any amounts owed to them

that may be related to the prepetition period (including based on the afore-referenced true-up) and

to continue to pay postpetition amounts to them in the ordinary course of business in the Debtors’

discretion.

        109.     I believe that payment of the Employee Compensation and Benefits at this time

enhances value for the benefit of all interested parties. Finding, attracting, and training new

qualified talent would be extremely difficult and would most likely require higher salaries,

guaranteed bonuses, and more comprehensive compensation packages than are currently provided

to Employees.

        110.     Furthermore, based on my experience, I believe that many Employees may live

from paycheck to paycheck and rely exclusively on receiving their full compensation or

reimbursement of their expenses in order to continue to pay their daily living expenses. These




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Employees may be exposed to significant financial and healthcare-related problems if the Debtors

are not permitted to pay and/or honor the Wages and Benefits, and the expenses associated

therewith, in the ordinary course of the Debtors’ business. Moreover, I believe that if they are

unable to honor accrued Wages and the Benefits described above, including honoring prepetition

PTO and Sick Leave by allowing Employees to use accrued prepetition PTO and Sick Leave on a

postpetition basis, Employee morale and loyalty will be jeopardized at a time when Employee

support is critical. I also believe that any uncertainty with regard to continuation of Wages and

Benefits will cause significant anxiety at precisely the time the Debtors need their Employees to

perform their jobs at peak efficiency

        111.     In addition, I believe that the Employees have an intimate knowledge of the

operation of the Debtors’ business and are critical components to the successful reorganization of

the Debtors’ business. Deterioration in the morale and welfare of the Employees at this critical

time undoubtedly would adversely impact the Debtors and their ability to sustain their operations.

Satisfaction of the Wages and Benefits, as described herein, is necessary to maintain the

Employees’ morale during the cases and to insure continued, efficient operation in order to

maximize value for all creditors. Accordingly, the Court should grant the relief requested in the

Wage Motion.

C.      Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Payment of
        Certain Taxes and Fees and (II) Granting Related Relief (the “Tax Motion”)

        112.     Pursuant to the Tax Motion, the Debtors seek entry of an order (a) authorizing the

Debtors to remit and pay or use tax credits to offset prepetition Taxes and Fees and postpetition

Taxes and Fees (defined below) as they become due and owing, including obligations arising on

account of an Audit (defined below) or Assessment (defined below), and (b) granting related relief.




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         113.     In the ordinary course of business, the Debtors collect, withhold, and incur taxes

and fees related to sales and use, property, income, motor fuel, franchise, annual reporting fees,

audits, and business and regulatory fees (collectively, the “Taxes and Fees”).38 The Debtors remit

the Taxes and Fees to various governmental authorities on a monthly, quarterly, semi-annual, or

annual basis (collectively, the “Authorities”). A schedule identifying the Authorities is attached to

the Tax Motion as Exhibit A.

         114.     The Debtors seek authority in the Tax Motion to make payments where (a) the

Taxes and Fees have accrued or were incurred prepetition but (i) were not paid prepetition or (ii)

were paid in an amount less than actually owed, (b) the Debtors made payments prepetition that

were lost or the Authorities did not receive the prepetition payments in full, which may give rise

to interest and other penalties, (c) the Taxes and Fees were incurred for prepetition periods and

become due and payable after the Petition Date, (d) the Taxes and Fees accrued or are incurred

postpetition, and (e) the Taxes and Fees are for so-called “straddle” periods.39

         115.     Failure to pay the Taxes and Fees could materially disrupt the Debtors’ business

operations in various ways, including: (a) the Authorities may initiate Audits of the Debtors, which

would unnecessarily divert the Debtors’ attention from the restructuring process; (b) the

Authorities may attempt to suspend the Debtors’ operations, file liens, seek to lift the automatic

stay, and/or pursue other remedies that will harm the estates; and (c) in certain instances, the



38
     The Debtors do not seek authority to pay prepetition amounts related to employment taxes and payroll withholding
     taxes under the Tax Motion but rather request such authority in the Wage Motion.
39
     Claims for so-called “straddle” Taxes and Fees may be entitled to administrative claim treatment pursuant to
     section 503(b)(1)(B) of the Bankruptcy Code. The Debtors are seeking the authority to pay such “straddle” Taxes
     and Fees as they become due under applicable law because the Debtors could be subject to late payment penalties
     and interest in the event they do not pay such “straddle” Taxes and Fees and a court ultimately concludes that
     such taxes are entitled to administrative treatment. The Debtors reserve their rights with respect to the proper
     characterization of such “straddle” Taxes and Fees and to seek reimbursement of any portion of a payment that
     was made that ultimately is not entitled to administrative or priority treatment.



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Debtors’ directors and officers could be subject to claims of personal liability, which would likely

distract those key individuals from their duties related to the Debtors’ restructuring. Unpaid Taxes

and Fees may result in fines and penalties, the accrual of interest, or both. Finally, the Debtors

collect and hold certain outstanding tax liabilities in trust for the benefit of the applicable

Authorities, and these funds may not constitute property of the Debtors’ estates.

        116.     The description of the Taxes and Fees set forth below is based in part upon the

Debtors’ books and records that, until shortly before the Petition Date, were maintained by certain

individuals who have recently left employment by the Debtors. In light of the institutional

knowledge that has been lost, the Debtors will amend or supplement the Tax Motion if material

additional prepetition accruals of Taxes and Fees are determined that the Debtors intend to seek

authority to pay. The Debtors believe they are substantially current on the payment of Taxes and

Fees, but have incurred the following prepetition taxes that are not yet due.

        A.       Sales and Use Taxes

        117.     In the ordinary course of business, the Debtors incur and pay state and local sales

and use taxes (collectively, the “Sales and Use Taxes”) by purchasing inventory, supplies, or other

regularly used goods. As of the Petition Date, the Debtors estimate that they have incurred or

collected approximately $350,000 in Sales and Use Taxes that have not been remitted to the

relevant Authorities. The Debtors request authority in the Tax Motion to pay prepetition Sales and

Use Taxes as they become due and owing and to continue paying their Sales and Use Taxes

obligations on a postpetition basis in the ordinary course of business.

        B.       Motor Fuel Taxes

        118.     The Debtors collect and remit motor fuel taxes (collectively, “Motor Fuel Taxes”)

to the applicable Authorities in connection with their operations in certain jurisdictions. The time




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and manner that the Motor Fuel Taxes accrue and are paid are based on applicable non-bankruptcy

law.    As of the Petition Date, the Debtors estimate that they have incurred or collected

approximately $16 million in Motor Fuel Taxes that are not yet due to the relevant Authorities.

The Debtors request authority in the Tax Motion to pay prepetition Motor Fuel Taxes as they

become due and owing and to continue paying their Motor Fuel Taxes obligations on a postpetition

basis in the ordinary course of business.

        C.       Property Taxes

        119.     The Debtors own a terminal property and operate commercial property under triple

net leases, which require that the Debtors pay the real property taxes associated with such

properties (collectively, “Real Property Taxes”) directly to the applicable Authorities.

Additionally, the Debtors incur personal property taxes (the “Personal Property Taxes,” and

together with the Real Property Taxes, the “Property Taxes”) in connection with their operations

in certain jurisdictions. The time and manner that Property Taxes accrue and are paid are based on

applicable non-bankruptcy law.

        120.     Importantly, state and local laws in jurisdictions in which the Debtors operate

generally provide that certain Authorities may assert a lien on property for unpaid Property Taxes

in certain circumstances. Such a lien could affect the rights of third parties if left unsatisfied,

including the rights of mortgagees, secured lenders, and lessors of the Debtors’ real and personal

property. It is essential to the Debtors’ go-forward operations that they are authorized to pay all

of their Property Taxes in the ordinary course, including those that accrued prepetition, which will

become due postpetition. The Debtors estimate that they have accrued approximately $4.1 million

in Property Taxes as of the Petition Date. Accordingly, the Debtors request authority in the Tax




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Motion to pay prepetition Property Taxes as they become due and owing and to continue paying

their Property Tax obligations on a postpetition basis in the ordinary course of business.

         D.       Income and Other Taxes

         121.     The Debtors are required to make payments for amounts due to certain Authorities

that require the Debtors to pay income or corporate taxes, including gross receipts taxes

(collectively, “Income and Other Taxes”). Generally, Income and Other Taxes are calculated as a

percentage of net income (i.e., the difference between gross receipts and expenses after accounting

for additional write-offs). The Debtors own and/or operate property in 26 states: Alabama,

Arkansas, Connecticut, Florida, Georgia, Indiana, Iowa, Kansas, Kentucky, Louisiana, Michigan,

Minnesota, Mississippi, Missouri, New Jersey, New York, North Carolina, North Dakota, Ohio,

Oklahoma, Pennsylvania, South Carolina, Tennessee, Texas, Wisconsin, and Wyoming.

Additionally, the Debtors supply fuel in Nebraska. As a result, many Authorities calculate Income

and Other Taxes for a particular Debtor based on the proportion of the applicable Debtor’s taxable

income derived from operations in the applicable jurisdiction.

         122.     The Debtors are required to pay the Income and Other Taxes on a quarterly or

annual basis.40 For context, I understand that the Debtors’ tax returns for 2022 have not been

completed. Total state and federal income taxes due for 2021 totaled approximately $9.6 million,

including penalties and fees. The Debtors request authority in the Tax Motion to pay prepetition

Income and Other Taxes as they become due and owing and to continue paying their Income and

Other Tax obligations on a postpetition basis in the ordinary course of business.




40
     Different types of Taxes are included on the Debtors’ state income tax return for certain jurisdictions. For the
     avoidance of doubt, the Debtors are seeking authority in the Tax Motion to continue remitting these Taxes, which
     are included on income tax returns in the ordinary course of business and consistent with past practices.



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        123.     The Debtors incur and remit annual reporting, permitting, and licensing fees in

connection with chartering or operating in those states (“Fees”). The Debtors request authority in

the Tax Motion to pay prepetition Fees (the “Fee Obligations”) as they become due and owing and

to continue paying their Fee Obligations on a postpetition basis in the ordinary course of business.

        F.       Franchise and Business Privilege Taxes

        124.     The Debtors are required to pay state franchise taxes independent of income taxes,

in order to continue conducting their business pursuant to applicable law (“Franchise Taxes”).

Certain state and local Authorities also impose taxes on the Debtors for, among other things,

operating licenses, liquor licenses and additional business privileges (together with Franchise

Taxes, “Franchise and Privilege Taxes”). Failure to pay Franchise and Privilege Taxes as they

become due in the ordinary course could cause the Debtors to lose their ability to conduct business

in the applicable jurisdictions. The Debtors generally pay their Franchise and Privilege Taxes on

an annual basis, depending on the jurisdiction. The Debtors request authority in the Tax Motion to

pay prepetition Franchise and Privilege Taxes and to continue paying the Franchise and Privilege

Taxes on a postpetition basis in the ordinary course of business.

        G.       Audits and Assessments

        125.     The Debtors may currently be involved in ongoing audit investigations and may be

subject to further investigations on account of tax returns and/or tax obligations in prior years

(collectively, the “Audits”). Additionally, the Debtors may be assessed additional Taxes and Fees

for prepetition amounts paid notwithstanding whether an Audit has occurred (collectively, the

“Assessments”). Further, the Debtors routinely review their books and records and perform other

related activities in connection with their Taxes and Fees in the ordinary course of business, which

could give rise to additional liabilities that are not associated with an Audit or Assessment. As of

the Petition Date, the Debtors do not believe there are any outstanding amounts owed in Taxes and


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Fees on account of the Assessments, which includes amounts that are being disputed in the

appropriate judicial or administrative proceeding. The Debtors seek authority in the Tax Motion

to pay undisputed prepetition Assessments and continue to negotiate settlements or resolutions

with the applicable Authority regarding any disputed Assessments on a postpetition basis in the

ordinary course of business.

        H.       Lottery Ticket Sales Revenue

        126.     One source of the Debtors’ revenue is derived from the sale of lottery tickets at the

Debtors’ convenience stores. The proceeds of these sales are received by the Debtors from

consumers for the purchase price of lottery tickets but are held in trust for the applicable

Authorities. The Debtors pay the proceeds of the lottery ticket sales to the applicable Authorities,

typically on a weekly basis. The Debtors estimate that they have accrued approximately $1.6

million in lottery ticket sale obligations as of the Petition Date. The Debtors seek authorization in

the Tax Motion to pay to the applicable Authorities any lottery ticket sale proceeds that they may

have collected prepetition and to continue to pay over lottery ticket sale proceeds postpetition in

the ordinary course of business.

        127.     I believe that the Debtors’ ability to pay the Taxes and Fees is critical to their

continued and uninterrupted operations. If certain Taxes and Fees remain unpaid, I understand that

the Authorities may seek to recover such amounts directly from the Debtors’ directors, officers, or

employees, thereby distracting such key personnel from the administration of these Chapter 11

Cases. Any collection action on account of such claims and any potential ensuing liability would

distract the Debtors and their personnel from their restructuring objectives to the detriment of all

parties in interest. The dedicated and active participation of the Debtors’ officers and employees




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is integral to the Debtors’ continued operations and essential to the orderly administration and,

ultimately, the success of these Chapter 11 Cases.

         128.    I further believe that the relief requested in the Taxing Motion is reasonable in light

of the added costs and penalties that may be incurred if such amounts remain unpaid. Specifically,

I understand that the Debtors’ Taxes and Fees obligations may ultimately result in increased

liabilities for the Debtors if interest and penalties accrue on the Tax and Fee claims, which amounts

may also be entitled to priority treatment. I believe that such a result would be contrary to the best

interests of the Debtors’ estates and all stakeholders. Accordingly, the Court should grant the relief

requested in the Taxing Motion.

D.       Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A)
         Continue Insurance Coverage Entered into Prepetition and Satisfy Prepetition
         Obligations Related Thereto, (B) Honor and Renew the Premium Financing Agreement
         Entered into Prepetition and Satisfy Obligations Related Thereto, and (C) Renew,
         Amend, Supplement, Extend, or Purchase Insurance Policies; and (II) Granting Related
         Relief (the “Insurance Motion”)

         129.    Pursuant to the Insurance Motion, the Debtors seek entry of an order a) authorizing

the Debtors to (i) continue insurance coverage entered into prepetition and satisfy prepetition

obligations related thereto in the ordinary course of business,41 (ii) honor and renew the premium

financing agreement entered into prepetition and satisfy obligations related thereto, and enter into

new premium financing agreements in the ordinary course of business, and (iii) renew, amend,

supplement, extend, or purchase insurance coverage in the ordinary course of business on a

postpetition basis; and (b) granting related relief.




41
     Nothing herein or in the Insurance Motion shall be deemed an admission of any payments due or past due under
     or related to any of the Insurance Policies (as defined herein).



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         A.       The Insurance Policies

         130.     In the ordinary course of the Debtors’ business, the Debtors maintain approximately

56 insurance policies (collectively, the “Insurance Policies,” and the carriers thereof, the

“Insurance Carriers”) 42 providing coverage for, among other things, commercial property, flood,

tank pollution, liquor, employer practice, and directors’ and officers’ liability.43 The Insurance

Policies are essential to the preservation of the Debtors’ business and assets, and, in many

instances, such insurance coverage is required by regulation, law, or contract that governs the

Debtors’ business. A comprehensive list of the Insurance Policies is attached to the proposed order

approving the Insurance Motion as Exhibit 1.

         131.     To preserve the value of the Debtors’ business operations, properties, and assets, it

is essential that the Debtors be able to continue or renew the Insurance Policies and enter into new

insurance policies. I understand that in many cases, regulations, laws, and contract provisions that

govern the Debtors’ commercial activities require the types of coverage provided for under the

Insurance Policies, as well as the Bankruptcy Code and U.S. Trustee Guidelines. The relief

requested in the Insurance Motion is designed to ensure uninterrupted coverage under the

Insurance Policies. Therefore, the Debtors seek authorization in the Insurance Motion to maintain



42
     The descriptions of the Insurance Policies set forth in the Insurance Motion constitute a summary only. The actual
     terms of the Insurance Policies and related agreements will govern in the event of any inconsistency with the
     description in the Insurance Motion. Although Exhibit 1 to the order approving the Insurance Motion is intended
     to be comprehensive, the Debtors may have inadvertently omitted Insurance Policies therefrom. The Debtors
     request authority to honor existing Insurance Policies and renew Insurance Policies, as applicable, regardless of
     whether the Debtors inadvertently failed to include a particular Insurance Policy on such Exhibit 1, and any such
     omitted Insurance Policy is hereby included in the defined term “Insurance Policies” as used in the Insurance
     Motion and order with respect thereto. In addition, the Debtors maintain numerous insurance policies with respect
     to, among other things, employee health, disability, and life insurance benefits, as well as the Debtors’ workers’
     compensation program. These programs are described, and the relief is requested with respect to such programs,
     in the Wage Motion.
43
     In addition to the Debtors’ ordinary course directors’ and officers’ policy, on March 16, 2023, the Debtors
     purchased Side A coverage in connection with the appointment of independent board members.



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the existing Insurance Policies, pay prepetition obligations (if any) related thereto upon entry of

the Order, and renew, amend, supplement, extend, or purchase new Insurance Policies on a

postpetition basis in the ordinary course of business consistent with past practice.

         B.      Premium Financing

         132.    While the Debtors pay most of their premiums for their Insurance Policies in full

in advance, the Debtors pay eleven (11) of their Insurance Policies insured by Federated Mutual

Insurance Company on an installment basis. As of the Petition Date, the Debtors expend

approximately $438,873.80, in the aggregate,44 each month on such monthly premium payments,

and believe they are current on all monthly premium obligations.

         133.    In addition, one of the Insurance Policies was financed through a premium

financing agreement (the “Premium Financing Agreement”). The Premium Financing Agreement

is between Mountain Express Oil Company and IPFS Corporation (the “Premium Financing

Provider”) and was paid in full prior to the Petition Date. As of the Petition Date, the Debtors do

not believe that they owe any amounts on account of the Premium Financing Agreement and that

the Premium Financing Agreement has been paid off.

         134.    The Debtors seek authority to enter into new premium financing agreements,

directly with the finance providers, or new non-financed Insurance Policies as necessary or

appropriate, without further Court approval.

         C.      Deductibles and Self-Insured Retentions

         135.    Certain of the Insurance Policies require the Debtors to pay a deductible

(collectively, the “Deductibles”). Generally, if a claim is made under an Insurance Policy with a

Deductible, the Debtors are obligated to pay any defense costs or successful or settled claims up


44
     Amounts on account of the Debtors’ workers’ compensations policies are included in the aggregate payment.



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to the amount of the Deductible. Carriers are directly responsible for any claim under the

applicable Insurance Policy to the extent such claim is in excess of the Deductible.           The

Deductibles may range up to $1,000,000, subject to certain limitations.

        136.     Alternatively, certain of the Insurance Policies may use self-insured retentions

(collectively, the “SIRs”) instead of Deductibles. If a claim is made under these policies, the

Debtors must make payments in the first instance up to the limit of the SIR and, once the Debtors

have made such payments, the carrier is obligated to cover remaining costs.

        137.     The Debtors do not believe there are any accrued but unpaid amounts pursuant to

the Deductibles and SIRs. However, out of an abundance of caution, the Debtors seek authority

in the Insurance Motion to continue to honor their obligations under the Deductibles or SIRs as

they come due on a postpetition basis in the ordinary course of business.

        D.       Insurance Brokerage Fees

        138.     The Debtors obtain Insurance Policies through Lockton Companies, Dickey

McCay, and Federated Mutual Insurance Company, their insurance brokers (collectively, the

“Insurance Brokers”), who assist the Debtors in obtaining comprehensive insurance coverage and

with the procuring and negotiating the Insurance Policies, enabling the Debtors to obtain Insurance

Policies on advantageous terms and at competitive rates. The Insurance Brokers collect fees for

services rendered as part of the Premiums paid on the Insurance Policies (the “Brokerage Fees”).

As of the Petition Date, the Debtors do not believe that they owe the Insurance Brokers any

amounts on account of the Brokerage Fees. Pursuant to the Insurance Motion, the Debtors seek

authority to pay any outstanding prepetition Brokerage Fees and to continue to honor any

Brokerage Fees as they come due on a postpetition basis in the ordinary course of business




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          139.   The Insurance Policies provide a comprehensive range of protection for the

Debtors’ businesses, properties, and assets. It is essential that the Debtors’ insurance coverage

continues in full force and effect during the course of these Chapter 11 Cases. At bottom, the

Insurance Policies provide the Debtors with essential insurance coverage. Any lapse in the

coverage to be provided under the Insurance Policies could expose the Debtors to substantial

liability, monetary and otherwise, for injuries, damages, and penalties for failing to maintain proper

insurance. Therefore, in light of the importance of the Insurance Policies, I believe the Debtors

should be permitted to exercise their reasonable business judgment to continue and/or renew the

Insurance Policies as they expire. Moreover, I believe permitting the Debtors to continue their

installment premiums and to enter into new premium financing agreements, directly with the

finance providers, or new non-financed Insurance Policies as necessary or appropriate, is in the

best interests of the Debtors’ estates. Accordingly, the Court should grant the Insurance Motion.

E.        Debtors’ Emergency Motion for the Entry of an Order (I) Approving the Proposed
          Adequate Assurance Deposit for Future Utility Services, (II) Prohibiting Utility
          Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
          Proposed Adequate Assurance Procedures for Resolving Adequate Assurance Requests,
          and (IV) Granting Related Relief (the “Utility Motion”)

          140.   Pursuant to the Utility Motion, the Debtors seek entry of an order (a) determining

that the Adequate Assurance Deposit (defined below) provides the Utility Providers (defined

below) with adequate assurance of payment within the meaning of section 366 of the Bankruptcy

Code (defined below), (b) prohibiting the Utility Providers from altering, refusing, or

discontinuing services, (c) approving the Adequate Assurance Procedures (defined below) for

resolving any dispute in connection with the Adequate Assurance Deposit, and (d) granting related

relief.




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         A.        The Utility Services

         141.      In connection with the operation of their businesses, the Debtors obtain electricity,

water, internet, telephone, and other similar services (collectively, the “Utility Services”), from a

number of utility providers (collectively, the “Utility Providers”). A non-exclusive list of the

Utility Providers that provide Utility Services to the Debtors as of the Petition Date is annexed to

the proposed order approving the Utility Motion as Schedule 1 (the “Utility Providers List”). In

addition, the Debtors pay for Utility Services through their landlords in accordance with the terms

of applicable real property leases. While the Debtors are providing notice of the Utility Motion to

all known Utility Providers, the relief requested herein is requested with respect to all Utility

Providers and is not limited to those listed on the Utility Providers List.45

         B.        The Adequate Assurance Deposit

         142.      On average, the Debtors spend approximately $70,000, in the aggregate, each week

on Utility Services, calculated based on the historical average of payments made to the Utility

Providers during January 1, 2022 through March 3, 2023. The Debtors anticipate that their weekly

utility spending will continue consistently with historical practice following the Petition Date.

         143.      The Debtors intend to satisfy postpetition obligations owed to the Utility Providers

in the ordinary course of business and in a timely manner. The Debtors’ cash on hand, cash

generated in the ordinary course of business, and the Debtors’ proposed cash collateral budgets

provide for payments to Utility Providers in accordance with ordinary prepetition practice. As


45
     Although the Debtors believe that the Utility Providers List includes all of their Utility Providers, subject to the
     limitations set forth in the Adequate Assurance Procedures, the Debtors reserve the right to supplement the list if
     they inadvertently omitted any Utility Provider. Additionally, the listing of an entity on the Utility Providers List
     is not an admission by the Debtors that such entity is or is not a utility within the meaning of section 366 of the
     Bankruptcy Code, and the Debtors reserve all rights with respect to any such determination. The Debtors also
     may have inadvertently omitted one or more Utility Providers. Therefore, the Debtors request relief in the Utility
     Motion applicable to all Utility Providers regardless of whether such Utility Provider is identified on the Utility
     Providers List.



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additional assurance of payment, the Debtors propose to deposit $150,000.00 (the “Adequate

Assurance Deposit”) into a segregated bank account (the “Adequate Assurance Account”)

maintained by the Debtors, within seven (7) calendar days after entry of an order approving the

Utility Motion.

        144.     The Adequate Assurance Deposit is equal to approximately two weeks of the

Debtors’ average weekly cost of Utility Services, calculated based on the historical average of

payments made to the Utility Providers during the period of January 1, 2022 through March 3,

2023. I believe that the Adequate Assurance Deposit, in conjunction with the Debtors’ cash on

hand, cash generated in the ordinary course of business, and anticipated access to cash collateral

(collectively, the “Proposed Adequate Assurance”), demonstrates the Debtors’ ability to pay for

future Utility Services in accordance with past practice and constitutes sufficient adequate

assurance to the Utility Providers in full satisfaction of section 366 of the Bankruptcy Code.

C.      The Adequate Assurance Procedures

        145.     The Debtors propose the adequate assurance procedures set forth in the Utility

Motion (the “Adequate Assurance Procedures”) for any Utility Provider that is either (a) not

satisfied with the Proposed Adequate Assurance or (b) seeking payment of their applicable portion

of the Adequate Assurance Deposit for adequate assurance of future payment (each, an “Adequate

Assurance Request”) during the pendency of these Chapter 11 Cases. In summary, the Adequate

Assurance Procedures permit a Utility Provider to object to the Proposed Adequate Assurance by

filing or serving an Adequate Assurance Request upon certain notice parties identified in the

Proposed Order. Under the Adequate Assurance Procedures, the Debtors may use their discretion

to resolve any Adequate Assurance Request with the Utility Provider and without further order of

the Court. If the Debtors determine that the Adequate Assurance Request cannot be consensually

resolved, the Debtors may seek Court resolution of the Adequate Assurance Request. In addition,


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if postpetition amounts remain unpaid beyond the applicable grace period associated with the

Utility Services, the Utility Provider may make an Adequate Assurance Request pursuant to the

proposed Adequate Assurance Procedures. As such, the proposed Adequate Assurance Procedures

are an efficient and streamlined resolution process for matters related to Utility Services that may

arise during the cases.

        D.       Modifications to the Utility Providers List

        146.     The Debtors have made an extensive and good faith effort to identify all Utility

Providers and include them on the Utility Providers List. If the Debtors subsequently identify

additional Utility Providers or discontinue any Utility Services, the Debtors seek authority, in their

sole discretion, to amend the Utility Providers List to add or remove any Utility Provider. The

Debtors further request in the Utility Motion that the relief requested therein, including the

proposed Adequate Assurance Procedures, and any order granting the relief requested in the Utility

Motion shall apply to any subsequently identified Utility Provider. The Debtors will serve a copy

of the Utility Motion and any related order on any Utility Provider added to the Utility Providers

List. Any subsequently added Utility Provider shall have twenty one (21) calendar days from the

date of service of the Utility Motion and any related order to make a request for additional adequate

assurance of payment in accordance with the Adequate Assurance Procedures. Pursuant to the

Adequate Assurance Procedures, the Debtors may seek to resolve any subsequently added Utility

Provider’s request for adequate assurance of payment by mutual agreement with the Utility

Provider without further order of this Court or the need to schedule a hearing with this Court to

determine the adequacy of assurance payment.

        E.       Prohibitions on Altering, Refusing, or Discontinuing Service

        147.     I believe that uninterrupted Utility Service is essential to the Debtors’ ongoing

business operations and overall success of these Chapter 11 Cases. Should any Utility Provider


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refuse or discontinue service, the Debtors’ business operations could be disrupted severely and

cause operational and manufacturing disruptions. Moreover, based on their books and records, the

Debtors believe there are no material defaults or arrearages for undisputed invoices accrued in

connection with Utility Services. As such, it is essential that the Utility Services continue

uninterrupted during the pendency of these Chapter 11 Cases.

        148.     For the foregoing reasons, the Debtors request that, pending the entry of an order

approving the Utility Motion and the resolution of any Additional Assurance Request, objection,

or Determination Hearing, the Utility Providers, including any Additional Utility Provider, are

prohibited from (a) discriminating against the Debtors, (b) altering, refusing, or discontinuing

service to the Debtors, or (c) requiring payment of a deposit or receipt of any other security for

continued service other than the Adequate Assurance Deposit as a result of these Chapter 11 Cases

or any unpaid prepetition invoices.

F.      Debtors’ Emergency Motion for the Entry of an Order (I) Authorizing the Debtors to
        Maintain and Administer Their Existing Account Reconciliation Practices and (II)
        Granting Related Relief (the “Dealer Reconciliation Motion”)

        149.     Pursuant to the Dealer Reconciliation Motion, the Debtors seek entry of an order

(a) granting the Debtors the authority to maintain, administer, and honor certain prepetition

obligations owed to the applicable Dealers and related account-reconciliation and fund release

procedures (collectively, the “Dealer Procedures”), and (b) granting related relief.

        150.     The Debtors operate and/or distribute fuel products to many hundreds of Dealers

across the United States. The Debtors’ ordinary course arrangements and relationships with their

Dealers are crucial to the preservation and maximization of the Debtors’ going concern value and

the prospects of a chapter 11 restructuring.

        151.     As an integral part of the Debtors’ operations and the contractual and other

arrangements with Dealers, in the ordinary course of business, the Debtors collect in various Bank


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Accounts credit card receipts and/or other cash receipts (“Dealer Collections”) from or for the

benefit of an applicable Dealer relating to fuel and other sales at the Dealer’s location, which funds

the Debtors collect and use as a security deposit, pending the Debtors’ and Dealer’s reconciliation

of the amounts due to and from the other party under the parties’ applicable agreements and

arrangements (“Reconciliation Process”). The frequency of such reconciliations varies, but

Dealer-specific reconciliations sometimes occur several times each month.

        152.     Prepetition, in the ordinary course of business, the Debtors regularly engaged in the

Reconciliation Process as to each applicable Dealer and subsequently released the net Dealer

Collections each applicable cycle to the Dealer. Because of the timing of these Chapter 11 Cases

and the automatic stay, the Debtors hold certain prepetition amounts of Dealer Collections which,

after the applicable Reconciliation Process, would otherwise be remitted to the Dealers in the

ordinary course of business. If the relief sought by the Dealer Reconciliation Motion were not

granted, and the Debtors were unable to transfer the net Dealer Collections to the relevant Dealers,

I believe many said Dealers would suffer great hardship and prejudice due to the delayed

remittances, the Debtors would risk alienating their Dealers, who could take actions adverse to the

Debtors, and the Debtors’ relationships with their Dealers, as well as the Debtors’ reputation in

the marketplace, would be substantially harmed. Just as the Debtors’ fuel supply and transport

chains (discussed below) are critical to the Debtors’ businesses, the Debtors’ ordinary course

arrangements and relationships with their Dealers (which buy fuel from or through the Debtors)

are critical to the goodwill of the Debtors’ business and the preservation and maximization of the

Debtors’ going concern value and a successful chapter 11 restructuring.

        153.     Because Dealers’ collections and reconciliation cycles vary, among other factors,

an estimation of amounts at stake is difficult and complex, but the Debtors believe approximately




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$7-8 million of prepetition Dealer Collections may be owed to Dealers after the applicable

Reconciliation Process. By the Dealer Reconciliation Motion, the Debtors seek authorization to

continue with their Reconciliation Process with Dealers and remit net Dealer Collections, as

applicable, to the Dealers in the ordinary course of business, irrespective of whether the Dealer

Collections relate to the prepetition period. Accordingly, the Court should grant the relief

requested in the Dealer Reconciliation Motion.

G.         Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to Pay
           Certain Prepetition Claims of Fuel Suppliers and Transporters and (II) Granting
           Related Relief (the “Fuel Supplier Motion”)

           154.    Pursuant to the Fuel Supplier Motion, the Debtors seek entry of an order (a)

authorizing the Debtors to pay certain fuel suppliers, haulers, transporters, shippers, and carriers

in the Debtors’ fuel purchase, distribution and/or storage chains (“Fuel Relationship Parties”),

subject to the limits set forth below; and (b) granting related relief as set forth in the Order.

           155.    Given the nature of their business, the Debtors require a ready, consistent,

significant supply of fuel for the continued operation of the Debtors’ and third parties’ Fuel

Centers, Travel Centers, and other locations across the United States. In short, if there is no fuel

supply, there will be no business of the Debtors to restructure in these Chapter 11 Cases.

           156.    The Debtors’ Oil Company Agreements are typically between the major national

oil companies (the “Fuel Suppliers”) and MEX, the Debtors’ parent company.46 Although they

vary from contract to contract, they generally entitle MEX to purchase, and obligate the Fuel

Supplier to sell, certain annual quantifies of fuel (often expressed as maximum output). These in-

bound fuel entitlements, naturally, are tied to the Debtors’ corresponding ability to sell the fuel

throughout the Debtors’ Fueling Centers and Travel Centers. The loss of Dealer locations (and


46
     Certain Oil Company Agreements are between a Fuel Supplier and a MEX Fuels Entity.



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the fuel supplies that those locations consume), could jeopardize the Debtors’ ability to adhere to

their purchase commitments under the Oil Company Agreements. The Debtors have limited

storage capacity and their fuel purchases are often tied to back-to-back delivery obligations to

dealers. Any interruption in the in-bound and out-bound flow of fuel products could cause certain

locations to run low supplies thus harming customer relationships.

           157.   I believe that granting the Debtors authorization to pay prepetition claims of the

Fuel Relationship Parties important to the Debtors’ fuel purchase, distribution, and/or storage

chains will enhance the likelihood of successful Chapter 11 Cases and maximize the value of the

Debtors’ estates. Without their arrangements with the Fuel Relationship Parties,47 the Debtors

would not have adequate access to fuel or the infrastructure through which to distribute it to the

Debtors’ and third parties’ locations. Without adequate fuel supply at the locations, customers

will go elsewhere to fuel up and shop – devastating to the Debtors’ business. In light of the large

and essential role played by a distinct group of Fuel Relationship Parties, I believe that it is prudent

to seek the relief requested in the Fuel Supplier Motion.

           158.   Prepetition, the Debtors were current on their obligations to the Fuel Relationship

Parties.     On a daily basis, the Debtors run approximately 170 loads of fuel equating to

approximately 1.4 million gallons per day. On a weekly basis, the amounts due to the Fuel

Relationship Parties range between $10 million and $15 million. Due to the timing of the nature

of the Debtors’ business, the timing of the chapter 11 filings, and the parties’ billing cycles, the

Debtors cannot estimate with precision the prepetition invoices that will be generated in the days

following the Petition Date. By the Fuel Supplier Motion, the Debtors are seeking authority to


47
     The Debtors are parties to certain fuel supply and other agreements with certain Fuel Relationship Parties, which
     agreements remain enforceable by the Debtors. The Debtors reserve all of their rights with respect to all such
     agreements.



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pay an amount necessary to preserve the value of their estates, which shall not exceed $25 million

in the aggregate, on account of prepetition claims held by the Fuel Relationship Parties and accrued

in the ordinary course of business (“Fuel Relationship Claims”). The Debtors intend to apply their

business judgment and discretion on a case-by-case basis and pay only those Fuel Relationship

Claims that are crucial to maintaining the supply chains for the Debtors’ wholesale and retail

operations and/or otherwise preserving the Debtors’ going concern value.

        A.       The Fuel Relationship Parties

        159.     In the ordinary course of business, the Debtors incur obligations to various fuel

suppliers, transporters, haulers, shippers, carriers, and other vendors in the Debtors’ fuel purchase,

distribution, and/or storage chains, servicing fuel stations, travel centers, and other locations across

the United States. As noted above, the Debtors were current on their prepetition obligations to the

Fuel Relationship Parties, and the significant prepetition amounts owed to such parties stem from

the timing of the chapter 11 filings. The Fuel Relationship Parties are either essentially single

source providers (for certain locations) or otherwise cannot be quickly enough and cost-effectively

replaced, and are absolutely crucial to the continued, uninterrupted operation of the Debtors’

businesses and the preservation and maximization of the value of the Debtors’ assets for the benefit

of all stakeholders.

        160.     Further, some of the Fuel Relationship Parties could potentially assert statutory

and/or other liens (including transportation and freight liens) against the Debtors’ property, to

secure payment of prepetition goods and services provided to the Debtors. I am informed that

such Fuel Relationship Parties may have a right to assert and perfect certain liens on account of

unpaid goods or services under applicable non-bankruptcy law, notwithstanding the automatic stay

of the Bankruptcy Code in certain instances. In my experience, such statutory liens often allow




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the goods or services provider to retain possession of all applicable materials until the debtor

satisfies the outstanding amounts owed.

         161.     Absent payment of any outstanding prepetition amounts, I believe that Fuel

Relationship Parties may refuse or attempt to refuse to provide goods and/or services for, and/or

honor obligations under their existing arrangements with, the Debtors on a go-forward basis,

including supplying and distributing fuel post-petition in the ordinary course of business. It is

therefore critical that the Debtors be allowed to pay Fuel Relationship Parties to avoid the potential

disruption of their operations.48

         162.     The Debtors estimate that the aggregate unpaid prepetition balance owing to the

Fuel Relationship Parties could total up to $25 million, all of which will be coming due during the

first 21 days of these Cases.

         163.     For the avoidance of doubt, the Debtors seek authority in the Fuel Supplier Motion

to pay only those amounts that they determine, in their sole discretion, are necessary or appropriate

to: (a) obtain the release of ordered fuel supplies and/or any other critical or valuable goods (as

applicable); (b) maintain efficient, reliable, and smooth operations at the Debtors’ locations (as

applicable); and (c) induce the Fuel Relationship Parties to continue performing and otherwise

supporting the Debtors’ operations on a postpetition basis.

         B.       The Proposed Fuel Supplier Process

         164.     If authorized to pay the Fuel Relationship Claims under the Fuel Supplier Motion,

the Debtors will, in their discretion, use commercially reasonable efforts to require the applicable

Fuel Relationship Parties to provide favorable trade terms consistent with historical practice. The


48
     By the Fuel Supplier Motion, the Debtors do not acknowledge or concede that any liens (contractual, common
     law, statutory, or otherwise) described in therein are valid and enforceable, and the Debtors expressly reserve the
     right to contest the extent, validity, and perfection of any and all such putative liens.



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Debtors request authority, but not the obligation, to condition payment of a Fuel Relationship

Claim on a Fuel Relationship Party’s agreement to continue providing fuel and/or other supplies

or services to the Debtors in accordance with each Fuel Relationship Party’s agreement to

(a) accept such payment in satisfaction of all or part of its Fuel Relationship Claim, and

(b) continue to provide fuel, supplies and/or services to the Debtors during these Chapter 11 Cases

on (i) the most favorable trade terms, practices, and programs (including, but not limited to, credit

limits, rebates, discounts, pricing, timing of payments, and availability, and other applicable terms

and programs) as in place before the Petition Date or (ii) such other favorable terms as the Debtors

and the Fuel Relationship Party may mutually agree on ((a) and (b) together, “Customary Trade

Terms”).

        165.     To ensure each Fuel Relationship Party continues providing fuel, other goods or

services on Customary Trade Terms for the duration of these Chapter 11 Cases, the Debtors seek

authority under the Fuel Supplier Motion, but not direction, in their discretion, to execute vendor

agreements, substantially similar to the form attached thereto as Exhibit A hereto (each a “Vendor

Agreement”).

H.      Debtors’ Emergency Motion for Entry of an Order(I) Authorizing the Debtors to Pay
        Certain Prepetition Claims of Lien Claimants and Critical Vendors and (II) Granting
        Related Relief (the “Critical Vendor Motion”)

        166.     Pursuant to the Critical Vendor Motion, the Debtors seek entry of an order (a)

authorizing the Debtors to pay (i) certain ordinary-course vendors and providers that supply goods

or services that the Debtors rely upon to continue their daily or otherwise key operations, or are in

certain instances sole or limited source providers of goods and services necessary for the

uninterrupted operation of the Debtors’ businesses (including, as discussed below, providers of

remediation and other environmental related services, software, technology and data related

services, and other goods and services for the Debtors’ retail segment) (“Trade Claimants”); and


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(ii) certain mechanics’, materialman’s, and other statutory lien claimants (“Lien Claimants” and,

together with the Trade Claimants, the “Critical Vendors”), subject to the limits set forth below;

and (b) granting related relief. Granting the Debtors authorization to pay prepetition claims of

Critical Vendors as described in the Critical Vendor Motion will avert substantial harm to the

Debtors’ operations and businesses, enhance the likelihood of successful Chapter 11 Cases, and

preserve and maximize the value of the Debtors’ estates.

        167.     With respect to the Trade Claimants, these vendors supply goods and/or services

that the Debtors rely upon to continue their daily or otherwise key operations, or are sole or limited

source providers of goods and services necessary for the uninterrupted operation of the Debtors’

businesses. Without these Trade Claimants, the Debtors’ wholesale and retail operations would

essentially not be up and running; the Trade Claimants, among other things, provide the software,

technology, and services to manage and implement fuel transport, fuel supply, store inventory,

credit card, and other payment processing; provide necessary remediation and other environmental

related services; and keep the retail locations stocked with necessary goods and products.

Moreover, I understand that many of the Trade Claimants who supply goods to the Debtors may

be entitled to assert administrative claimants for goods delivered to the Debtors in the 20 days

preceding the Petition Date under the Bankruptcy Code in any event.

        168.     In addition, while I do not believe any Lien Claimants currently exist, to the extent

any Lien Claimants have filed or may in the future file mechanics’, materialman’s, and other

statutory liens, non-payment of such liens would be disruptive to the Debtors’ business to the

extent the Liens Claimants may refuse or attempt to refuse to provide goods and/or services for,

and/or honor obligations under their existing arrangements with, the Debtors on a go-forward

basis, including necessary construction, installation, repairs, and maintenance, or may refuse to




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release certain goods, equipment, supplies, or other materials in their possession. It is thus

imperative that the Debtors be allowed to pay certain Lien Claimants in the ordinary course of

business to avoid the potential disruption of their operations.

        169.      As of the Petition Date, the Debtors owe approximately $6.1 million to the Critical

Vendors. By the Critical Vendor Motion, the Debtors are only seeking authority to pay an amount

necessary to preserve the value of their estates, which shall not exceed $7.5 million in the aggregate

on account of prepetition claims held by certain Critical Vendors and accrued in the ordinary

course of business (“Critical Vendor Claims”). The Debtors intend to apply their business

judgment and discretion on a case-by-case basis and pay only those Critical Vendor Claims that

are crucial to the Debtors’ wholesale and/or retail operations and/or otherwise preserving the

Debtors’ going concern value. The Debtors are generally not proposing to pay the Critical Vendor

Claims in full.

        A.        The Trade Claimants

        170.      In the ordinary course of business, the Debtors incur obligations to certain other

vendors and providers that supply goods or services that the Debtors rely upon to continue their

operations and are either sole or limited source providers of goods and services necessary for the

uninterrupted operation of the Debtors’ businesses or otherwise cannot be quickly enough and

cost-effectively replaced. In all events, these Trade Claimants are integral to the continued,

uninterrupted operation of the Debtors’ businesses and the preservation and maximization of the

value of the Debtors’ assets:

        (i)       Environmental cleanup, remediation and other environmental related services: As

                  set forth above, the Debtors’ business and operations entail numerous Fuel Centers

                  and Travel Centers across the United States. Given the nature of the Debtors’




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                 businesses and the applicable public interest therein, the Debtors are subject to a

                 high degree of governmental and regulatory oversight from a variety of regulatory

                 bodies, including the United States Environmental Protection Agency and

                 analogous state agencies. Accordingly, the Debtors rely on a number of Trade

                 Claimants to assist them in ensuring compliance with applicable governmental laws

                 and regulations and/or addressing remedial, disposal, or other waste or

                 environmental issues at or related to the locations.

        (ii)     Software and other technology/electronic data administration, processing and

                 technical services: These Trade Claimants provide goods and services integral to

                 key parts of the Debtors’ businesses and operations including fuel transport, fuel

                 supply, store inventory, pricing, credit card and other payment processing, and

                 environmental/site level data.

        (iii)    Goods, supplies and services for retail segment: These Trade Claimants provide

                 goods and/or services crucial to the Debtors’ retail operations, including suppliers

                 of certain products and inventory for the fuel stations, travel centers and other

                 locations. Without adequate inventory and goods furnished by certain Trade

                 Claimants at the locations, customers will go elsewhere to fuel up and shop –

                 devastating to the Debtors’ business.

        171.     The Debtors estimate that the aggregate unpaid prepetition balance owing to the

Trade Claimants totals $6.1 million, all of which the Debtors expect will come due during the first

21 days of these Cases.




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        B.       The Lien Claimants

        172.     In the ordinary course of business, the Debtors incur obligations (collectively, the

“Lien Claims”) to third party contractors, repairmen, equipment installers, manufacturers, and

other parties that perform labor or furnish materials, with respect to their own or third party

branded fuel stations, travel centers and other locations (the “Lien Claimants”). These Lien

Claimants could potentially assert statutory and/or other liens (including mechanics’ and

materialman’s liens) against the Debtors’ property or property managed or operated by the Debtors

(including the applicable retail locations), to secure payment of prepetition goods and services

provided to the Debtors.

        173.     I am informed that the Lien Claimants may have a right to assert and perfect certain

liens on account of unpaid goods or services, including mechanics’ liens under applicable non-

bankruptcy law, notwithstanding the automatic stay under the Bankruptcy Code. Such statutory

liens often allow the goods or services provider to retain possession of all applicable materials

until the debtor satisfies the outstanding amounts owed.

        174.     While I understand that no Lien Claimants currently exist, to the extent any Lien

Claimants have filed or may file mechanics’, materialman’s and other statutory liens, non-payment

of such liens would be disruptive to the Debtors’ business to the extent the Liens Claimants may

refuse or attempt to refuse to provide goods and/or services for, and/or honor obligations under

their existing arrangements with, the Debtors on a go-forward basis, including necessary

construction, installation, repairs and maintenance, or may refuse to release certain goods,

equipment, supplies, or other materials in their possession. It is thus imperative that the Debtors

be allowed to pay certain Lien Claimants in the ordinary course of business to avoid the potential




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disruption of their operations.49 Moreover, I believe that if the relief requested in the Critical

Vendor Motion with respect to the Lien Claimants is granted, the total amount to be paid to the

Lien Claimants will likely be less than the losses the Debtors may suffer if their operations are

disrupted.

         C.       The Critical Vendor Process

         175.     The Debtors have thoroughly reviewed their business relationships and identified

the Critical Vendors, the loss of whose particular goods or services would cause immediate and

irreparable harm to the Debtors’ business. To identify the Critical Vendors, the Debtors reviewed

their accounts payable and prepetition vendor lists to identify those creditors most essential to the

Debtors’ operations pursuant to the following criteria: (a) which suppliers were sole source or

limited source suppliers, without whom the Debtors could not continue to operate without

disruption, (b) the Debtors’ ability to find alternative sources of supply and the potential disruption

or lost revenues while a new supplier was resourced, (c) which suppliers would be prohibitively

expensive to replace, (d) which suppliers would present an unacceptable risk to the Debtors’

operations given the volume of essential services or products that such suppliers provide, (e) the

extent to which suppliers may assert an administrative expense claims under the Bankruptcy Code;

and (f) whether a vendor meeting the foregoing criteria is able or likely to refuse to ship goods or

other supplies to the Debtors postpetition if its prepetition balances are not paid, but the vendor’s

failure to perform would constitute a disruption of the Debtors’ business.

         176.     If authorized to pay the claims of Trade Claimants (“Trade Vendor Claims”), the

Debtors will, in their discretion, use commercially reasonable efforts to require the applicable


49
     By the Critical Vendor Motion, the Debtors do not acknowledge or concede that any liens (contractual, common
     law, statutory, or otherwise) described therein are valid and enforceable, and the Debtors expressly reserve the
     right to contest the extent, validity, and perfection of any and all such putative liens.



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Trade Claimants to provide favorable trade terms consistent with historical practice. The Debtors

request authority under the Critical Vendor Motion, but not the obligation, to condition payment

of a Trade Vendor Claim on a Trade Claimant’s agreement to continue providing supplies or

services to the Debtors in accordance with each Trade Claimant’s agreement to (a) accept such

payment in satisfaction of all or part of its Trade Vendor Claim and (b) continue to provide supplies

or services to the Debtors during these Chapter 11 Cases on (i) the most favorable trade terms,

practices, and programs (including, but not limited to, credit limits, rebates, discounts, pricing,

timing of payments, and availability, and other applicable terms and programs) as in place before

the Petition Date or (ii) such other favorable terms as the Debtors and the Trade Claimant may

mutually agree on.

        177.     To ensure each Trade Claimant continues providing goods or services on

Customary Trade Terms for the duration of these Chapter 11 Cases, the Debtors seek authority

under the Critical Vendor Motion, in their discretion, to execute vendor agreements, substantially

similar to the form attached as Exhibit A thereto.

        178.     For all of the foregoing reasons, I respectfully request that the Court grant the relief

requested in each of the First Day Pleadings.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

        Executed this 21st day of March, 2023 at New York, NY

                                                        /s/ Michael Healy
                                                        Michael Healy




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